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                               UNITED ST ATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                       )
CE TER FOR BIOLOGICAL DIVERSITY ,                      )
                                                       )
               Plain ti ff,                            )
                                                       )
               V.                                      )       Civil Acti on No. 17-1037 (EGS)
                                      )
U.S. ARM Y CORPS O F E GINEERS and    )
U.S. CU STOMS AND BORDER PROTECTION , )
                                      )
            Defendants.               )


                              DECLARATION OF PATRICK HOWARD

        I, Patrick Howard, dec lare as fol lows:

        1.     I am a Branch Chief w ithin the Freedom ofln formation Act Division ("FO IA

Division") at U.S. Customs and Border Protection (" CBP"), U.S. Department of Hom ela nd

Security (" OHS"). I have been a Branch Chief in the FO IA Di v ision since February 8.20 15. In

thi s capacity , I oversee a staff of Government Information Specia lists (" GIS"), the processing of

requests for records submitted to CB P pursuant to the Freedom of Information Act (" FO IA"), 5

U .S.C. § 552, the Pri vacy Act (" PA"), 5 U.S.C. § 552a, and other activities conducted pursuant

to applicable records access provisions.

       2.      I am familiar with CB P' s procedures for responding to FOIA requests. I provide

technical and admin istrative supervi sion and direction to a group of FO IA spec ialists in

processing FOIA requests and assist with FOIA/P A litigation matters, and I am persona lly

familiar w ith the processing of FOIA/PA responses, inc luding, at times, by directly reviewing fo r

adequacy and compliance w ith federal laws and regulations.

       3.      The statements in thi s Declaration are made on the bases of: (1 ) my rev iew of the

documents I understand are at issue in the above-refere nced matter; (2) my personal knowledge
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of the internal operations of thi s office and agency; and (3) information acquired by me in the

course of the performance of my offici al duties.

        4.      I am familiar with the procedures followed by CBP in responding to requests for

informatio n pursuant to the provisions of FOIA, and w ith the procedures fo llowed in respo ndi ng

to the request made by the Center for Biological Diversity (" Plaintiff'), the Plaintiff in the

above-captioned matter.

        5.      I submit this Declaration in support of CB P's motion for summary j udgment. The

purpose of this Declaration is to explain the actions CBP has taken since receiving Plaintiff s

FOIA request, dated January 25 , 2017 (the "Request"), and to provide an explanation of the

procedures used in the review and processing of the CBP records that were released to Plaintiff

by CBP. In accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Ci r. 1973), this declaration

and its attachments, including the Vaughn Index, attached as Exhibit A, provide the Court and

Plaintiff w ith info rmation deta iling CBP ' s search for responsive records and an identification of

information that is withheld, the statutory exemption(s) c laimed, and the justification for

asserting the exemptions.

 CBP'S STANDARD PROCEDURE FOR INITIATING SEARCHES IN RESPONSE TO
                         FOIA REQUESTS

       6.      CBP is a law enforcement agency comprised of more than 60,000 employees

charged with enforcing hundreds of federal statutes. Approximately 45,000 of those employees

are armed law enforcement officers engaged in carrying out CBP 's expansive border security

mission (U.S. Border Patrol Agents, Field Operations Officers, and A ir and Marine Interd iction

Agents).

       7.      Broadly, the FOIA Division at CBP reviews FOIA requests, determ ines whether

responsive records exist and, if so, whether they can be re leased in accordance with the FOIA.


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In process ing such requests, the FOIA Division consults with CBP personnel and, when

appropriate, with other components w ithin OHS, as well as other Executive Branch agencies.

        8.      Despite the large size of CBP as an organization, the FOIA Divi sion currently

consists of 30 full-time staff and four supervisory employees. Specifically, there are 30 GISs

who report to three Branch Chiefs who, in turn, report to the Privacy and Diversity Office.

        9.     A GIS, also known as a FOIA processor, is tasked with reviewing information

and providing assistance to managers and empl oyees concerning FOIA issues, policies, and

procedures. He or she is also responsible for processing FOIA requests for CBP records. A G IS

is responsible for reviewing and preparing draft responses to requests for releases of information

and, in so doing, must apply relevant statutes, regulations, agency rules, and/or executive orders

as they pertai n to FOIA requests.

        I 0.   A Branch Chief is responsible fo r managi ng policy formulation, advising agency

manageme nt, and ensuring compliance w ith federa l laws governing the release of information.

Branch Chiefs oversee the release of CBP documents a nd information, assist with FOIA

litigation matters, and oversee the process ing of FO IA responses and adherence to federal laws

and regulations.

        11 .   Generally, the FOIA Division rarely has direct access to records that may be

responsive to complex requests such as this request. Rather, the FOIA Div ision must first

determine wh ic h CBP offices are likely to have responsive information and then work w ith those

offices to gather any potentially responsive records. Based on the FOIA Division's familiarity

with the types of records that each office ma inta ins, assessments of where responsive record s are

Iikely to be ma intained are based on a rev iew of the content of the request itself and the nature of

the records sought, as well discussions w ith knowledgeable agency personnel. According ly,



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when CBP receives a FOIA request that reasonably describes the record s requested and complies

w ith the agency 's rules governing the procedures for FOIA requests, the office likely to have

responsive information must search for and retrieve potentially responsive records.

        12.    Once the offices likely to have responsive information have completed their

search and located potentially responsive records, the FOIA Division must process them for

release. Processing records requires: (1) reviewing records for responsiveness to the request a nd

(2) reviewing responsive records to exci se and withho ld information that fa lls within any one of

the FOIA 's nine statutory exemptions from di sclosure. See 5 U.S.C. § 552(b).

        13.    In order to review responsive records for information exempt from disclosure, a

CBP FOIA processor must (1) meticulously examine, line by line, each responsive record to

identify potenti al redactions; (2) apply redactions if necessary; and (3) individual ly label each

redaction (which could be a name, email address, phone number, sing le word or phrase, or

substantia l p ortions of a document) with the applicable exemption(s).

    PLAINTIFF'S REQUEST AND CBP'S SEARCH FOR RESPONSIVE RECORDS

        14.    By email dated January, 25, 2017, Pla intiff submitted the FO IA req uest at issue to

OHS seek ing "all records from the U.S. Department of Homeland Security ... that reference

walls, barriers, and/or other physical constructions a long the U.S.-Mexico border and/or U.S.-

Canada border, for purposes of the Presidential transition process, created for and/or prov ided to

brief members of the Presidential Transition Team and/or their representatives" (the " Request").

A copy of the Request is attached as Exhibit B.

       15.     By ema il dated April 21 , 20 17, OHS notified Pla intiff that it referred the Request

to CBP's FOIA Office.




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        16.     Upon rece iving the Request, the FOIA Di vision staff carefully evaluated the

Request and considered which offi ces, databases, and personne l were likely to ho ld responsive

information. The FOIA Division determined that responsive records fe ll under the purv iew of

CBP. Based on the FOIA Division 's experience with prior, sim ilar requests, it was determined

that the offices mostly likely to have information responsive to the Request were the Office of

Facilities and Asset Management ("OFAM"), U.S. Border Patrol ("USBP"), and the Policy

Directorate ("OPD") located within the Office of the Commissioner.

        17.     OF AM is the offi ce within CBP respon sibl e for managing the agency's large,

complex, a nd diverse fac ilities and tactica l infra structure portfolio, which includes more than

5,600 buildings, structures, and surveillance towers, over 4,600 acres of land in the United

States, and 654 miles of primary pedestrian and vehicle fence along the southwest border.

        18.     USBP is the primary federal law enforcement organ ization responsible for

preventing the entry and illicit movement of peop le and contraba nd between officia l CBP ports

of entry.

        19.     OPD is the designated lead offi ce on beha lf of the Commissioner and Deputy

Commissioner in guiding CBP 's overall policy development and implementation and

coordination with OHS and other governmental agencies for matters that a re of a sign ificant,

cross-cutting, and/or agency-wide nature which are expected to have an impact on CBP pol icies,

operatio ns, or procedures . Such matters include, but are not limited to, policies a nd initiatives

required by legislation, policies or initiatives requ iring coordination between two or more CBP

offices, and issues that may result in significant national attention or Congressional interest.

        20.     The FOIA Division tasked OF AM , US BP, and OPD w ith searching their persona l

paper a nd e lectronic files (including emails) for any records provided to o r created for the



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purpose of briefing members of the Presidentia l Transition Team and/or their representatives that

referenced walls, barriers, and/or other physical construction along the U.S.-Mexico and U.S.-

Canada borders.

         21.    As the presidential election was held on November 8, 2016, and President Donald

J. Trump was sworn into office on January 20, 2017, the time period se lected for thi s search was

from     ovember 9, 2016 to February 28, 2017. This time period is from the date after the

Presidential election until one month fo ll owing the swearing in of President Trump. This time

period would most likely have been the time that any communications or drafts would have been

prepared for the Presidential Transiti on Team. As such, this time period was reasonably

calculated to locate the records requested by Plaintiff.

         22.    OFAM personnel searched their hard copy and electron ic files using the terms

"Transition + Wall," "Transition + Barrier," "Transition + Border," "Transition," and "Transition

Team."

         23.    USBP searched a shared drive folder that was spec ifica lly dedicated to the

Presidentia l Transition Team and located a ll records relating to or referenc ing walls, barriers,

a nd/or other physical construction a long the U.S.-Mexico border and/or U.S.-Canada border.

         24.    CBP's Office of Information and Technology (OIT) performed a search of the

emai ls of the members of the OPD, as they were responsible for comm unications between the

Presidential Transition Team a nd CBP. T he search was conducted using the fo llowing terms:

·' Presidential Transition" and "Mexican Border" plus "wall " or "barrier" or "physica l

construction"; "Presidential Transition" a nd "U.S.-Mexico Border" plus "wall" or "barrier" or

"physical construction"; " Pres idential Transition" and "U .S.-Canada Border" plus "wall" or

" barrier" or "physical construction." Members of PD themselves also searched their shared



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drives and email s in Microsoft Outl ook that were on the ir work computers using the search term s

" wall ,'. ·' barrier," "construction," "phys ical,'" " Mexico," "Canada," and "border."

          25.    The FOIA Division surveyed relevant personnel from OF AM , USBP, a nd OPD

a nd identified approximately 4,264 pages of responsive records. CBP has released, in whole or

in part, approximate ly 4,264 pages of records to Plaintiff. As detailed in the accompanying

Vaughn index, exempt information was withheld pursuant to FOIA exemptions (b)(3), (b)(4),

(b)(5), (b)(6), (b)(7)(C), and (b)(7)(E).

          26 .   As further explained below, in the review of documents in connection with the

preparation of the Vaughn index, it was determined that, in some instances, an exemption was

mi stakenly appli ed to redacted information. In those cases, it was determined that either another

exemption applied, or that the information was not exempt from disclosure under the FOIA.

     JUSTIFICATION FOR WITHHOLDING INFORMATION UNDER THE FOIA

                                            Exemption (b)(3)

          27.    Section 552(b)(3) of Title 5 of the U.S. Code exempts from disclosure

information specifically exempted from di sc losure by statute, provided that such statute requi res

that the matters be w ithheld from the public in such a manner as to leave no discretion on the

issue, or establishes particular criteria for w ithhold ing or refers to particular types of matters to

be withheld.

          28.    In this case, exemption (b)(3) was applied in the Bates-numbered documents

0055-BW FO IA, 0058-BW FOIA, 01 22-BW FOIA, and 0 124-BW FOIA to protect information

believed to be confidential contractor bid o r proposal information protected under 41 U.S .C. §

2 102.




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        29.    In the review of the documents in connection with the preparation of the Vaughn

index, it was determined that exemption (b)(3) was inapplicable to the redacted information in

0055-BW FO IA. This information, rather than being confidenti al contractor bid or proposa l

information, was funding amounts supporting an interagency agreement ("IAA") between CBP

and the U.S. Army Corps of Engineers ("USA CE"). As such, the info rmation is not o f the type

exempt from release under (b)(3) o r any other exemption under the FOlA.

        30.    In the review of the documents in connecti on w ith the preparation of the Vaughn

index, it was determined that exemption (b)(3) was inapp licable to the redacted information in

0058-BW FO IA. Th is information, rather than being confidentia l contractor bid or proposal

information, reflects the budget and expenses for nine southwest border USBP sectors during

fiscal years 20 14 to 20 16. As such the info rmation is not of the type exempt from release under

(b)(3) or any other exemption under the FOIA.

       3 1.    In the review of the documents in connection w ith the preparation of the Vaughn

index, it was determined that exemption (b)(3) was inapplicable to the redacted information in

0122-BW FOlA and 0124-BW FOIA. T hi s information, rather than being confidentia l bid or

proposa l in formation, reflects CBP's own estimates for proposed fence construction in vari ous

sectors a long the southern border. However, as explained below, this informat ion is exempt

from disc losure unde r exemption (b)(7)(E).

       32.     Exemption (b)(3) was also applied in the Bates-numbered documents 0090-BW

FOJA, 0091-BW FO IA, 0104-BW FOIA , 0 110-BW FOIA to contractor drawings and

specifications prov ided to CB P in connection with the design of the border fence along the U.S.

southern border be li eved to be exempt from disc losure under exempti on (b)(3). In the rev iew of

the documents in connection with the preparation of the Vaughn index, it was determined that



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exemption (b)(3) was inapplicable to the redacted in formation in these documents. However, as

explained below, the w ithheld info rmation is exempt from disc losure under exemption (b)(4 ).

                                          Exemption (b)(4)

        33 .    Section 552(b)(4) of Title 5 of the U.S. Code exempts from disclosure matters

that are "trade secrets and comm ercial or financial information obtained from a person and

privileged or confidential."

        34.     In thi s case, exemption (b)(4) was applied in Bates-numbered documents 006 l-

BW FO IA, 0062-BW FOIA, and 0063-BW FOIA. Together the documents comprise a delivery

order contract between CBP and The Boe ing Company (" Boeing") to prov ide services in support

of CB P's Fence Lab Project, under which CBP tested, eva luated, and selected border fence

sol utions to meet the agency 's operationa l need s. The unit costs and total price offered by

Boeing for the associated services is redacted, as its disclosure could result in competitive harm

to the contractor. Disclosure of such informatio n is prohibited by the Trade Secrets Act, 18

U.S.C. § l 905 . As such, the information is p roperly withheld under exemption (b)(4).

       35.     As noted above, contractor design drawings and specifications contained in 0090-

B W FOlA, 009 1-BW FOlA, 0 104-BW FOIA, 0 11 0-BW FOIA prov ided to CBP in connection

with the design of the fence a long the U.S. southern border were improperl y withheld pursuant to

exemption (b)(3). However, the designs bear markings which identify the drawings and

specifications as proprietary. Such information constitutes the trade secret or sty le of work of

those firms, which is prohibited from disclosure under the Trade Secrets Act, 18 U.S.C. § 1905.

As such , the information is properly with held under exemption (b)(4).

       36.     Exemption (b)(4) was also applied in Bates-numbered documents 00 11 -BW

FOIA, 0054-BW FOIA, 0059-BW FOIA, 0087-BW FOIA, 0088-BW FOIA.



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        37.     In the review of the documents in connection with the preparation of the Vaughn

index, it was determined that exemption (b)(4) was inapplicable to the redacted infonnation in

0011-BW FOIA. Rather than trade secret or commercial or financial information obtained from

another party, the redacted infonnation concerns the projected de ployment costs of various law

enforcement assets, such as mobil e, fi xed, and aviation surveillance systems. However, as

explained below, the infonnati on spec ified in thi s document is exempt from di sclosure under

exemption (b )(7)(E).

        38.     In the review of documents in connection w ith the preparation of the Vaughn

index, it was determined that exempti on (b)(4) was inapplicable to the redacted info tmation in

0054-BW FOIA. Rather than the trade secret or commerc ial or financ ial in formation obtained

from another party, the redacted infotmation reflects the funding amo unts under an IAA between

C BP and the Federal Aviation Administration ('·FAA ") Logistics Center to support CBP remote

v ideo surveillance system towers a nd facilities. As such, the in formation is not of the ty pe

exempt from disclosure under (b)(4) or any other exemption un der the FOIA.

       39.     In the review of the documents in connection with the preparation of the Vaughn

index it was determined that exemption (b)(4) was inappl icable to redacted infotmation in 0059-

BW FOIA. Rather than trade secret or commerc ia l or financia l information obta ined fro m

another party, the redacted information concerns the funding amounts prov ided under a

reimbursable work authorization between CBP and the U.S. Army Corps of Eng ineers fo r real

estate acquis ition, program planning/overs ight, and construction of pedestrian fence in specified

USBP sectors a long the southern border. However, as explained below, the redacted information

is exempt from disclosure under exemption (b)(7)(E).




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        40.     In the review of the documents in connection with the preparati on of the Vaughn

index, it was determined that exemption (b)(4) was inapplicable to the redacted in formation in

0087-BW FO IA and 0088-BW FOIA. Rather than trade secret or commercial or financial

info rmation obtained from another party, the redacted in formatio n concerns fu nd ing amounts

provided under two separate modifications to an lAA between CBP and the FAA Logistics

Center. As such, the informati on is not of the type exempt from disclosure under (b)(4) or any

other exemption under the FOIA.

                                          Exemption (b)(5)

        41.     Section 552(b)(5) of Title 5 of the U.S. Code exempts from di sc losure matters

that are " inter-agency and intra-agency memorandums or letters which would not be avai lable by

law to a party other than an agency in li tigation with the agency." The general purpose of this

exemption and the underly ing privilege is to prevent injury to the quality of agency decisions.

        42.     [n this case, exemption (b)(5) was applied to pre-decisional/deliberative

information concerning the agency's approach to implement law enforcement measures along

the U.S.-Mexico border under programs and initiatives, such as the Secure Border lnitiative

Network (" SB!net'') (a concept for prov iding fencing, communications systems, sensors, and

operators as an approach to surveillance along the southwest border), the Integrated Fixed Tower

(" IFT") Program (a surveillance program utilizing fixed surveillance towers along the Arizona

border), and the Aerostat s urveillance system (aircraft which mon itor air and ground movement

along the border), as well as the agency's potential plans for construction of new tactical border

infrastructure as directed by President Trump. The redacted information includes the qual itative

and quantitative metrics across which USBP identified law enforcement capab ility gaps, the

results of tests and analyses of alternatives fo r potentia l law enforcement strategies, and



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recomme ndations to CBP leadership to inform acquisition and other decisions concern ing the

deploym ent of law enforcement strategies. Di sclosure of suc h informati on could reasonably be

expected to affect the agency 's decision-making process in effecting presidential po licy.

        4 3.    In addition, section 552(b)(5) of Title 5 of the U. S. Code exempts from d isclosure

confidential communications between an attorney and a c lient in which the client is seek ing legal

advice, or in which the attorney is prov iding advice.

        44.     In this case, exemption (b)(5) was a lso applied to informati on prev iously provided

to USBP from CBP's Office of Chief ("OCC") fo r the purposes of providing legal advice, which

was subsequently used in various bri efing m ateria ls for CBP leadership. The information is

protected fro m disclosure under the attorney-c lie nt privilege.

                                           Exemption (b)(6)

        45.     Section 552(b)(6) of T itle 5 of the U.S. Code exempts from disclosure personne l

a nd medical files and similar files, the re lease of w hich wou ld constitute a c learly unwarranted

invasion of persona l pri vacy. T hi s exemption requires balancing the public 's right to disc losure

against an individual 's right to privacy. The information is exempted from disclosure because

the privacy interests in that information outweigh the publ ic interest in its disc losure.

       46.      In this case, exempti on (b)(6) has been applied to the names, signatures, phone

numbers, ema il addresses, personally identifiab le information, and other identifying details of

government employees and other third-party indi vidua ls. Exemption (b)(6) has been applied to

such information because its release woul d constitute a clearly un warranted invasion of persona l

privacy. Government empl oyees, including CBP law enforcement officers, and the employees of

CBP govern ment contractors have a protectable privacy interest in the ir identities that would be

th reatened by di sc losure. Similarly, government employees and government contractors have a



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protectable pri vacy interest in their phone numbers, email addresses, and persona l signatures that

wo uld be threatened by disclosure. Re lease of thi s information would not shed light on CB P's

actions, and there is no pub I ic interest in the disclosure of this information. In addition, the

redacted names were not of high-ranking government officials. Accordingly, the individual 's

right to privacy outweighs whatever public interest, if any, might ex ist in disclosing the

information.

                                         Exemption (b)(7)(C)

       47.      Section 552(b)(7)(C) of Title 5 of the U.S. Code exempts from disclosure certain

records or information that are " compil ed for law enforcement purposes." The records at issue in

this case were compiled for law enforcement purposes in that the information is created and used

so lely by CBP in its law enforcement mi ssion to secure the borders of the United States.

       48.     Section 552(b)(7)(C) of Title 5 of the U.S. Code exempts from disclosure law

enforcement records or information that "could reasonably be expected to constitute an

unwarranted invasion of personal pri vacy." Exemption (b)(7)(C) is designed to protect, among

other th ings, law enforcement personnel from harassment or annoyance in the co nduct of their

official duties and in their private lives, which could conceivably result from the public

disclosure of their identities. The information is exempted from disc losure because the privacy

interests in that information outweigh the public interest in its disclosure.

       49.     Exemption (b)(7)(C) has been appl ied to the names, phone numbers, email

addresses, persona lly identifiable information, and other identifying details of government

employees and third-party individuals because re lease of this information could reasonably be

expected to constitute an unwarranted invasion of personal privacy. The records provided in

response to Plaintiffs request were compi led for law enforce ment purposes in that the



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information conta ined within these records was created and used by CBP in its mission to secu re

the borders of the Un ited States. The holders of the redacted government phone numbers and

email addresses and the named government employees have a protectable privacy interest in

their identities that would be compromised by release of the information. Similarly, the third-

party ind ividua ls whose personally identifiable information and other identifying detai ls appear

in the records have a protectable privacy interest in their identities that would be compromised

by the release of the information. Release of this information would not shed light on CB P 's

actions, and there is no pub! ic interest served in the disclosure of the information. In additio n,

the redacted names were not of high-ranking government officials. Accordingly, the individual's

right to privacy outweighs whatever public interest, if any, that might exist in knowing this

information.

                                        Exemption (b )(7)(E)

          50.   As noted above, section 552(b)(7) of Title 5 of the U.S. Code exempts from

disc losure certain records or informat ion that are "compiled for law enforcement purposes." The

records at issue in th is case were compiled for law enforcement purposes in that the information

was created and used by CBP in its law enforcement mission to secure the borders of the United

States.

          51.   Section 552(b)(7)(E) of Title 5 of the U.S. Code exempts from disclos ure law

en forcement records or information that "would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guide lines for law enforcement

investigations or prosecutions if s uch disclosure cou ld reasonab ly be expected to risk

circumventi on of the law."




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        52.     In thi s case, exemption (b)(7)(E) has been applied to information such as the

results of the agency's capability gaps or needs requirements analyses with respect to several of

CBP's law enforcement programs and initiatives, s uch as the Secure Border Initiative        etwork,

the Integrated Fixed Tower Program, and the Aerostat surveillance system. Redacted

information inc ludes technical s pecifications and locati ons of tactical infrastructure and related

surveillance technology (including its capabilities and limitati ons, such as the conditions under

wh ich the equipment is most or least effective), and other similar information that directly relates

to CBP' s law enforcement mi ss ion. The di sclosure of such information could reveal law

enforcement sensitive information that could reasonably be expected to permit individuals to

effectuate countermeasures, a lter their patterns of conduct to avoid detection, or otherwise

circumvent the law.

        53.    As noted above, information in 0011-BW FOIA was improperly withhe ld under

exemption (b)(4). However, the redacted information was compiled for law enforcement

purposes in connection with the assessment of the SBinet program's analysis of alternatives to

support acqui sition decisions regarding continued deployment of the program. The redacted

information identifies CBP's cost estimates for agent, fixed , m obile, and aerial a ssets across

USBP sectors along the southern border. Disclosure of CBP' s asset investments along the

southern border could revea l capability gap s that wou ld permit individuals to effect

countermeasures in order to c ircumvent the law. As such, the information is properly w ithheld

under exemption (b)(7)(E).

       54 .    As noted above, information in 0059-BW FOIA was improperly withheld under

exemption (b)(4). However, the redacted information in this reimbursable work authorization

between CBP and USACE was compiled for law enforcement purposes in connection w ith



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USACE's performance of real estate acquisition, program planning/oversight, and pedestrian

fence construction services in specified USBP sectors along the southern border. The redacted

information includes line items identifying pedestrian fence construction locations by sector

abbreviation and associated costs. Disclosure of such information would reveal the level of

tactical infrastructure investment made in these areas, which could reveal capability gaps that

would permit individuals to alter their patterns of conduct, adopt new methods of operation,

effectuate countermeasures, or otherwise circumvent the law. As such, the information is

properly withheld under exemption (b)(7)(E).

        55.    As noted above, information in O122-BW FOIA ANDO 124-BW FOIA was

improperly withheld under exemption (b)(3). However, the redacted information was compiled

for law enforcement purposes by CBP' s OFAM to provide USBP leadership an overview of

CBP' s current infrastructure assets and proposals for placement of new fence along the northern

and southern borders. The redacted information includes CBP' s estimated costs of construction

for new fence and roads per mile per USBP sector. Disclosure of such information could reveal

capability gaps that would permit individuals to alter their patterns of conduct, adopt new

methods of operation, effect countermeasures, or otherwise circumvent the law. As such this

information is properly withheld under exemption (b)(7)(E).

                                       SEGREGABILITY

       56.     Plaintiff has been provided with all responsive records pursuant to this request.

Where appropriate, CBP asserted FOIA exemptions in the released records. All information

withheld is exempt from disclosure pursuant to a FOJA exemption or is not reasonably

segregable because it is so intertwined with protected material that segregation is not possible, or

its release would have revealed the underlying protected material. I have reviewed the



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docume nts determined to be responsive, and I am satisfi ed that all reasonably segregable

portions of the relevant records have been re leased to the Plaintiff in thi s matter. In my

determinati on, any fu rther re lease of the exempted material s could reasonably lead to the

identification of the individua ls or other information that are properl y redacted by the

exemptions asserted.

       57.     I dec lare under pe nalty of perjury that the information provided is true and correct

to the best of my information, knowledge, and be!ief.

Signed this c:f7il,day of July 2018.




                                       Patrick Howard
                                       Branch Chi ef, FOI A Div ision
                                       Office of the Comm issioner
                                       U.S. Customs and Border Protecti on
                                       U.S. Department of Home land Security




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             EXHIBIT A
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 DOCUMENT BATES             DOCUMENT            EXEMPTION(S)                              BASIS FOR EXEMPTION
      NUMBER                DESCRIPTION            CLAIMED
0004 – BW FOIA        Memo from Chief, U.S.     (b)(5)            Names, signatures, and telephone numbers of individual government
                      Border Patrol to          (b)(6)            employees or third parties have been redacted pursuant to (b)(6) and
                      Assistant                 (b)(7)(C)         (b)(7)(C), as the release of such information would constitute an
                      Commissioner, Office      (b)(7)(E)         unwarranted invasion of privacy. Release of this information would
                      of Internal Affairs re:                     not shed light on CBP’s actions and there is no public interest served in
                      Government                                  their disclosure.
                      Accountability Office
                      (“GAO”) Report on CBP                       Additional information has been redacted pursuant to (b)(5) and
                      Arizona Border                              (b)(7)(E), as the information was compiled for law enforcement
                      Surveillance                                purposes and disclosure of such information would reveal the pre-
                      Technology Plan                             decisional/deliberative process information of the agency concerning
                                                                  law enforcement data collection techniques.
0005 – BW FOIA        Arizona Border            (b)(5)            Names, signatures, and telephone numbers of individual government
                      Surveillance              (b)(6)            employees or other third parties have been redacted pursuant to
                      Technology Plan           (b)(7)(C)         (b)(6) and (b)(7)(C), as the release of such information would
                      Concept of Operations     (b)(7)(E)         constitute an unwarranted invasion of privacy. Release of this
                      Document for U.S.                           information would not shed light on CBP’s actions and there is no
                      Border Patrol                               public interest served in their disclosure.

                                                                  Additional information has been redacted pursuant to (b)(5) and
                                                                  (b)(7)(E), as the information was compiled for law enforcement
                                                                  purposes in the development of United States Border Patrol’s
                                                                  (“USBP’s”) concept of operations (i.e., approach to law enforcement)
                                                                  for Arizona border surveillance. Redacted information includes pre-
                                                                  decisional information concerning the agency’s approach to law
                                                                  enforcement along the Arizona border. The information includes
                                                                  locations, operational protocols, current technologies, capability gaps,
                                                                  and needs requirements. Disclosure of such information would reveal
                                                                  law enforcement techniques and procedures, which would permit
                                                                  individuals to alter their patterns of conduct, adopt new methods of
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                                                                  operation, relocate, or effectuate other countermeasures in order to
                                                                  circumvent the law.

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 DOCUMENT BATES            DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
      NUMBER              DESCRIPTION              CLAIMED
0006 – BW FOIA CBP    Operational Test          (b)(5)            Names, signatures, and telephone numbers of individual government
                      Agency Evaluation         (b)(6)            employees or other third parties have been redacted pursuant to
                      Report for the Secure     (b)(7)(C)         (b)(6) and (b)(7)(C), as the release of such information would
                      Border Initiative         (b)(7)(E)         constitute an unwarranted invasion of privacy. Release of this
                      Network Block 1.0                           information would not shed light on CBP’s actions and there is no
                                                                  public interest served in their disclosure.

                                                                  Additional information has been redacted pursuant to (b)(5) and
                                                                  (b)(7)(E), as the information was compiled for law enforcement
                                                                  purposes to provide the results of the agency’s independent testing
                                                                  and evaluation of the Secure Border Initiative Network (“SBInet”) Block
                                                                  1.0 system to meet the needs of CBP’s operational mission. SBInet
                                                                  was a concept for providing fencing, communications systems,
                                                                  sensors, and operators as an approach to surveillance along the
                                                                  southern border. Information includes testing locations, test
                                                                  conditions, operational assumptions, results, and recommendations to
                                                                  the agency. Disclosure of such information would reveal capability
                                                                  gaps and law enforcement techniques and procedures for addressing
                                                                  them, which would permit individuals to alter their patterns of
                                                                  conduct, adopt new methods of operation, relocate, or effectuate
                                                                  other countermeasures to circumvent the law.
0007 – BW FOIA        Southwest Border          (b)(7)(E)         Information has been redacted pursuant to (b)(7)(E), as it was
                      Patrol Technology                           compiled for law enforcement purposes to address the agency’s
                      White Paper                                 technology capability needs along the nation’s southwest border. The
                                                                  redacted information includes operational measures definitions for
                                                                  effectiveness, and specific locations that could benefit from new or
                                                                  different border surveillance technology. Public disclosure of this
                                                                  operational information would reveal capability gaps and law
                                                                  enforcement techniques and procedures for addressing them, which
                                                                  would permit individuals to alter their patterns of conduct, adopt new
                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 20 of 73




                                                                  methods of operation, relocate, effectuate other countermeasures to



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DOCUMENT BATES             DOCUMENT              EXEMPTION(S)                            BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION             CLAIMED
                                                                  circumvent the law, or otherwise frustrate law enforcement
                                                                  operations.
0008 – BW FOIA                                   (b)(6)           Names, signatures, and telephone numbers of individual government
                                                 (b)(7)(C)        employees have been redacted pursuant to (b)(6) and (b)(7)(C), as the
                                                 (b)(7)(E)        release of such information would constitute an unwarranted invasion
                                                                  of privacy. Release of this information would not shed light on CBP’s
                                                                  actions and there is no public interest served in their disclosure.

                                                                  Additional information has been redacted pursuant to (b)(7)(E), as this
                                                                  document makes reference to acquisition needs for specific law
                                                                  enforcement program technologies. Public disclosure of the specific
                                                                  technologies employed in the use of law enforcement would permit
                                                                  individuals to effectuate countermeasures or otherwise frustrate or
                                                                  circumvent law enforcement operations.

0009 – BW FOIA        Memorandum from            (b)(6)           Names, signatures, and telephone numbers of individual government
                      Chief, USBP to             (b)(7)(C)        employees have been redacted pursuant to (b)(6) and (b)(7)(C), as the
                      Assistant                  (b)(7)(E)        release of such information would constitute an unwarranted invasion
                      Commissioner, Office                        of privacy. Release of this information would not shed light on CBP’s
                      of Technology                               actions and there is no public interest served in their disclosure.
                      Innovation and
                      Acquisition (“OTIA”) re:                    Additional information has been redacted pursuant to (b)(7)(E), as this
                      Integrated Fixed Tower                      document details the conditions of acceptance for CBP’s Integrated
                      Program                                     Fixed Tower (“IFT”) Program. The IFT Program was a surveillance
                                                                  strategy utilizing fixed surveillance towers along the Arizona Border.
                                                                  The conditions of acceptance specify operational gaps and
                                                                  recommendations for resolving them. Public disclosure of capability
                                                                  gaps and specific technologies employed in the use of law
                                                                  enforcement would permit individuals to effectuate countermeasures
                                                                  or otherwise frustrate or circumvent law enforcement operations.
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0010 – BW FOIA        Internal USBP              (b)(5)           Document withheld in full pursuant to (b)(5), as the document
                      Response to GAO                             contains pre-decisional information compiled by USBP for law

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DOCUMENT BATES              DOCUMENT            EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                      Recommendation to                           enforcement purposes concerning CBP’s capability gap analysis and
                      Develop Metrics to                          future plans to implement measures to fulfill needs requirements.
                      Measure Border                              Information includes the qualitative and quantitative metrics USBP will
                      Technology                                  implement to measure the effectiveness of its border surveillance
                      Effectiveness                               technology under the Arizona Border Surveillance Technology Plan, in
                                                                  line with GAO’s audit recommendation to devise such metrics.
                                                                  Disclosure of such information could reasonably be expected to affect
                                                                  the integrity of the agency’s decision-making process.
0011 – BW FOIA        Homeland Security         (b)(5)            Names of third parties have been redacted pursuant to (b)(6) and
                      Studies & Analysis        (b)(6)            (b)(7)(C), as the release of such information would constitute an
                      Institute - SBInet        (b)(7)(C)         unwarranted invasion of privacy. Release of this information would
                      Independent               (b)(7)(E)         not shed light on CBP’s actions and there is no public interest served in
                      Assessment: Analysis of                     their disclosure.
                      Alternatives, Phase 1A
                                                                  Information has been redacted pursuant to (b)(5) and (b)(7)(E), as this
                                                                  document was compiled for law enforcement purposes and concerns
                                                                  the independent, pre-decisional assessment of SBInet to provide an
                                                                  analysis of alternatives for the SBInet program director and acquisition
                                                                  officials to support decisions regarding the continued deployment of
                                                                  the program. This document identifies specific testing locations, test
                                                                  conditions, technology assets, law enforcement assumptions and
                                                                  protocols, and conclusions as they relate to law enforcement
                                                                  techniques and procedures. Public disclosure of capability gaps,
                                                                  specific technologies employed (including conditions under which they
                                                                  are least or most effective), and law enforcement techniques and
                                                                  procedures would permit individuals to effectuate countermeasures or
                                                                  otherwise frustrate law enforcement operations or the agency’s future
                                                                  decisions concerning those operations.
0012 – BW FOIA        SBInet Block 1.0 User     (b)(5)            Information has been redacted pursuant to (b)(5) and (b)(7)(E), as this
                      Assessment Final          (b)(7)(E)         document was compiled for law enforcement purposes and concerns
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 22 of 73




                      Analysis Report                             the independent, pre-decisional assessment of SBInet system
                                                                  effectiveness to inform CBP’s optimization of system implementation.

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  This document identifies specific testing locations, test conditions,
                                                                  technology assets, law enforcement assumptions and protocols, and
                                                                  conclusions and recommendations related to law enforcement
                                                                  techniques and procedures. Public disclosure of capability gaps,
                                                                  specific technologies employed (including conditions under which they
                                                                  are least or most effective), and law enforcement techniques and
                                                                  procedures would permit individuals to effectuate countermeasures or
                                                                  otherwise frustrate law enforcement operations or the agency’s future
                                                                  decisions concerning those operations.
0013 – BW FOIA        Response to GAO Audit     (b)(7)(E)         Information has been redacted pursuant to (b)(7)(E), as the
                      Recommendations                             information was compiled for law enforcement purposes to address a
                                                                  Government Accountability Office (“GAO”) audit recommendation to
                                                                  determine the degree to which surveillance technologies contribute to
                                                                  CBP’s border security efforts. The document identifies specific
                                                                  technologies, describes their capabilities and limitations, and
                                                                  measures the degree to which the technologies contribute to border
                                                                  security. Appendix A includes the responsive case study performed in
                                                                  a specific CBP area of responsibility and details the results, which
                                                                  includes reference to specific CBP locations, identifies surveillance
                                                                  technology gaps, and assesses the technologies’ impact (“assists”) on
                                                                  assaults, rescues, and apprehensions in the CBP area of responsibility.
                                                                  Public disclosure of capability gaps, specific technologies employed or
                                                                  recommended, and law enforcement techniques and procedures
                                                                  would permit individuals to effectuate countermeasures or otherwise
                                                                  frustrate law enforcement operations.
0014 – BW FOIA        USBP Initial              (b)(5)            Names, signatures, and telephone numbers of individual government
                      Requirements              (b)(6)            employees are redacted pursuant to (b)(6) and (b)(7)(C), as the release
                      Document for the          (b)(7)(C)         of such information would constitute an unwarranted invasion of
                      Laredo Sector             (b)(7)(E)         privacy. Release of this information would not shed light on CBP’s
                                                                  actions and there is no public interest served in their disclosure.
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DOCUMENT BATES             DOCUMENT              EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION             CLAIMED
                                                                  Information is redacted pursuant to (b)(5) and (b)(7)(E), as it is a pre-
                                                                  decisional document prepared for law enforcement purposes to
                                                                  address capability needs in a specific CBP area of responsibility. The
                                                                  document identifies specific zones within the area of responsibility,
                                                                  the capability requirements within them, proposed technological
                                                                  enhancements for specific zones, and their order or priority.
                                                                  Disclosure of such information could reasonably be expected to assist
                                                                  individuals in or near the area of responsibility in avoiding detection
                                                                  and circumventing the law or frustrate law enforcement operations.
0015 – BW FOIA        Briefing Slides: Arizona   (b)(5)           Information is redacted pursuant to (b)(5) and (b)(7)(E), as it is part of
                      Border Surveillance        (b)(7)(E)        a pre-decisional document compiled for law enforcement purposes to
                      Technology Plan                             analyze capability gaps and recommend surveillance technology and
                      (Advised by SBInet                          strategies along the Arizona border. Disclosure of such information
                      Analysis of                                 could reasonably be expected to assist individuals in or near the area
                      Alternatives)                               of responsibility in avoiding detection and circumventing the law or
                                                                  frustrating law enforcement operations.
0016 – BW FOIA        Aerostat Force             (b)(5)           Names and signatures of individual government employees are
                      Development Event          (b)(6)           redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      (“FDE”) Evaluation Final   (b)(7)(C)        information would constitute an unwarranted invasion of privacy.
                      Report                     (b)(7)(E)        Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served in their disclosure.

                                                                  Information is redacted pursuant to (b)(5) and (b)(7)(E), as it is part of
                                                                  a pre-decisional document compiled for law enforcement purposes to
                                                                  provide USBP decision-makers the results, analysis, conclusions, and
                                                                  recommendations regarding continued use of the Aerostat aerial
                                                                  surveillance systems (aircraft which monitor air and ground
                                                                  movement) along the southern border. Disclosure of such information
                                                                  would reveal the capabilities of these systems (including conditions
                                                                  under which they are least or most effective) and could reasonably be
                                                                                                                                               Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 24 of 73




                                                                  expected to assist individuals in or near the CBP area of responsibility
                                                                  in avoiding detection, permit individuals to effectuate

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  countermeasures or otherwise frustrate law enforcement operations
                                                                  or the agency’s future decisions concerning those operations.
0017 – BW FOIA        USBP Sector Capability    (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document was
                      Gap Summary                                 compiled for law enforcement purposes to address infrastructure and
                                                                  equipment needs in a specific CBP area of responsibility. Disclosure of
                                                                  this information could reasonably be expected to assist individuals in
                                                                  or near the area in avoiding detection and circumventing the law.
0018 – BW FOIA        USBP Sector Capability    (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document was
                      Gap Summary                                 compiled for law enforcement purposes to address infrastructure and
                                                                  equipment needs in a specific CBP area of responsibility. Disclosure of
                                                                  this information could reasonably be expected to assist individuals in
                                                                  or near the area in avoiding detection and circumventing the law.
0019 – BW FOIA        USBP Sector Capability    (b)(7)(E)         Information has been redacted pursuant to (b)(7)(E), as the document
                      Gap Summary                                 was compiled for law enforcement purposes to address infrastructure
                                                                  and equipment needs in a specific CBP area of responsibility.
                                                                  Disclosure of this information could reasonably be expected to assist
                                                                  individuals in or near the area in avoiding detection and circumventing
                                                                  the law.
0020 – BW FOIA        USBP Sector Capability    (b)(7)(E)         Information has been redacted pursuant to (b)(7)(E), as the document
                      Gap Summary                                 was compiled for law enforcement purposes to address infrastructure
                                                                  and equipment needs in a specific CBP area of responsibility.
                                                                  Disclosure of this information could reasonably be expected to assist
                                                                  individuals in or near the area in avoiding detection and circumventing
                                                                  the law.
0021 – BW FOIA        Summary of CBP            (b)(7)(E)         Information has been redacted pursuant to (b)(7)(E), as this document
                      Environmental                               was prepared for law enforcement purposes in connection with the
                      Stewardship Initiatives                     placement of tactical infrastructure in a specific section of a CBP area
                      in Del Rio Sector                           of responsibility. The document identifies the specific location, linear
                                                                  mileage and acreage of the location, and length of the tactical
                                                                  infrastructure. Disclosure of this information could reasonably be
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 25 of 73




                                                                  expected to assist individuals in or near the area in avoiding detection
                                                                  and circumventing the law.

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 DOCUMENT BATES              DOCUMENT           EXEMPTION(S)                              BASIS FOR EXEMPTION
      NUMBER                DESCRIPTION            CLAIMED
0022 – BW FOIA        Summary of CBP            (b)(6)            Images of third-party environmental monitors photographed taking
                      Environmental             (b)(7)(C)         notes at an fencing construction staging area have been redacted
                      Stewardship Initiatives   (b)(7)(E)         pursuant to (b)(6) and (b)(7)(C), as to prevent an unwarranted invasion
                      in El Centro Sector                         of privacy. These contracted biological and cultural resource
                                                                  specialists were on-site during all phases of construction to ensure CBP
                                                                  adhered to the best management practices it developed to minimize
                                                                  environmental impact in the affected area. Release of this information
                                                                  would not shed light on CBP’s actions and there is no public interest
                                                                  served in their disclosure.

                                                                  Additional information is redacted pursuant to (b)(7)(E), as the
                                                                  document was compiled for law enforcement purposes and identifies
                                                                  the specific sections of a CBP area of responsibility, linear mileage and
                                                                  acreage of the location, and length of the tactical infrastructure.
                                                                  Additionally, the document specifies continuing post-construction
                                                                  issues resulting from the terrain, which impacted fencing. Disclosure
                                                                  of this information could reasonably be expected to assist individuals
                                                                  near or within the area of responsibility in avoiding detection and
                                                                  circumventing the law.
0023 – BW FOIA        Summary of CBP            (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document was
                      Environmental                               compiled for law enforcement purposes and identifies the specific
                      Stewardship Initiatives                     sections of a CBP area of responsibility, linear mileage and acreage of
                      for Pedestrian Fence                        the location, and length of the tactical infrastructure. Additionally, the
                      Construction in El Paso                     document identifies by specific segment problematic areas of fencing
                      Sector                                      and continuing post-construction issues resulting from the terrain that
                                                                  impacted fencing. Disclosure of this information could reasonably be
                                                                  expected to assist individuals near or within the area of responsibility
                                                                  in avoiding detection and circumventing the law.
0024 – BW FOIA        Summary of CBP            (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the information
                      Environmental                               relates to the acreage/footprint of tactical infrastructure (including
                                                                                                                                               Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 26 of 73




                      Stewardship Initiatives                     fencing and roads) in specific sections of the identified CBP sector.
                      for Vehicle Fence                           Disclosure of such information could be utilized by individuals in or

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                      Construction in El Paso                     near the area to effect measures to avoid detection or circumvent the
                      Sector                                      law.
0025 – BW FOIA        Email re: Fence           (b)(6)            Names, signatures, telephone numbers, and email addresses of
                      Maintenance and           (b)(7)(C)         individual government employees are redacted pursuant to (b)(6) and
                      Repair along Southwest    (b)(7)(E)         (b)(7)(C), as the release of such information would constitute an
                      Border                                      unwarranted invasion of privacy. Release of this information would
                                                                  not shed light on CBP’s actions and there is no public interest served in
                                                                  their disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E), as the information
                                                                  discloses CBP response time with regard to breaches discovered in
                                                                  fencing infrastructure and the causes of breaches. Knowing the time
                                                                  period within which CBP generally makes necessary repairs could aid
                                                                  individuals in avoiding detection.
0026 – BW FOIA        Tasking from              (b)(7)(E)         Information in this document is redacted pursuant to (b)(7)(E), as it
                      Presidential Transition                     contains law enforcement information provided to the Presidential
                      Team Requesting                             Transition Team concerning CBP’s tactical assets along the northern
                      Summary of Current                          and southern borders. The document specifies the length of
                      Border Infrastructure                       pedestrian and vehicle fencing for each USBP sector (and similar totals
                      and Surveillance                            for all weather roads), the kind of fencing and its dimensions,
                      Technology                                  information concerning the characteristics and qualities of the fencing
                                                                  related to its structural integrity, and related maps of fence and road
                                                                  locations. The document identifies, with accompanying images,
                                                                  technological equipment and describes their capabilities, limitations,
                                                                  manner of use, and locations where deployed. Public disclosure of
                                                                  such information regarding the agency’s assets (including conditions
                                                                  under which they are least or most effective) would permit individuals
                                                                  to effectuate countermeasures, avoid detection, or otherwise frustrate
                                                                  law enforcement operations.
0027 – BW FOIA        Memo from                 (b)(6)            Names, signatures, telephone numbers, and email addresses of
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 27 of 73




                      Department of             (b)(7)(C)         individual government employees are redacted pursuant to (b)(6) and
                      Homeland Security         (b)(7)(E)         (b)(7)(C), as the release of such information would constitute an

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 DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
    NUMBER                 DESCRIPTION             CLAIMED
                      (“DHS”) Under                               unwarranted invasion of privacy. Release of this information would
                      Secretary for                               not shed light on CBP’s actions and there is no public interest served in
                      Management and Chief                        its disclosure.
                      Financial Officer to CBP
                      Commission re: CBP                          Additional information is redacted pursuant to (b)(7)(E), as the
                      Land, Air, and Maritime                     information was compiled for law enforcement purposes and specifies
                      Domain Awareness                            technologies used in CBP’s law enforcement operations, the disclosure
                      Capabilities                                of which could reasonably be expected to assist individuals in avoiding
                                                                  detection and circumventing the law or otherwise frustrating law
                                                                  enforcement operations.
0028 – BW FOIA CBP    Integrated Fixed           (b)(5)           Names and signatures of individual government employees are
                      Towers Limited User        (b)(6)           redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      Test Final Report          (b)(7)(C)        information would constitute an unwarranted invasion of privacy.
                                                 (b)(7)(E)        Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served in their disclosure.

                                                                  Additional information is redacted pursuant to (b)(5) and (b)(7)(E), as
                                                                  this pre-decisional document was compiled for law enforcement
                                                                  purposes to provide CBP decision-makers the independent test and
                                                                  evaluation results for the integrated fixed tower program to inform
                                                                  acquisition decisions. The IFT Program was a surveillance strategy
                                                                  utilizing fixed surveillance towers along the Arizona Border. Redacted
                                                                  information includes testing locations, test conditions, operational
                                                                  assumptions, system capabilities, and limitations, evaluation results
                                                                  (including when they are most or least effective), and
                                                                  recommendations to the agency. Disclosure of such information
                                                                  would reveal capability gaps and law enforcement techniques and
                                                                  procedures for addressing them, which would permit individuals to
                                                                  alter their patterns of conduct, adopt new methods of operation,
                                                                  relocate, or effectuate other countermeasures to circumvent the law
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                                                                  or otherwise frustrate law enforcement operations. Further, the



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 DOCUMENT BATES            DOCUMENT              EXEMPTION(S)                             BASIS FOR EXEMPTION
    NUMBER                 DESCRIPTION             CLAIMED
                                                                  agency has an interest in maintaining the integrity of its decision-
                                                                  making process.
0029 – BW FOIA CBP    CBP OTIA SBInet Block      (b)(7)(E)        Information has been redacted pursuant to (b)(7)(E), as the document
                      1 Capabilities and                          was compiled for law enforcement purposes to provide the results of
                      Limitations Post-                           the agency’s independent testing and evaluation of the SBInet Block
                      Deployment                                  1.0 system to meet the needs of CBP’s operational mission.
                      Assessment                                  Information includes testing locations, test conditions, operational
                                                                  assumptions, results, and recommendations to the agency. Disclosure
                                                                  of such information would reveal capability gaps and law enforcement
                                                                  techniques and procedures for addressing them, which would permit
                                                                  individuals to alter their patterns of conduct, adopt new methods of
                                                                  operation, relocate, or effectuate other countermeasures to
                                                                  circumvent the law, or otherwise frustrate law enforcement
                                                                  operations.
0030 – BW FOIA CBP    Memo from CBP              (b)(5)           Names and signatures of individual government employees have been
                      Executive Director,        (b)(6)           redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      Secure Border Initiative   (b)(7)(C)        information would constitute an unwarranted invasion of privacy.
                      to DHS Deputy              (b)(7)(E)        Release of this information would not shed light on CBP’s actions and
                      Secretary re: SBInet                        there is no public interest served in their disclosure.
                      Operational
                      Requirements                                Additional information is redacted pursuant to (b)(5) and (b)(7)(E), as
                      Document                                    this document specifies CBP’s operational requirements for SBInet
                                                                  technology systems. Public disclosure of the agency’s operational
                                                                  requirements for surveillance technology could permit individuals to
                                                                  effectuate countermeasures in order to circumvent the law or
                                                                  otherwise frustrate law enforcement operations.
0031 – BW FOIA        Remove Video               (b)(6)           Names and signatures of individual government employees are
                      Surveillance System        (b)(7)(C)        redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      (“RVSS”) Upgrade           (b)(7)(E)        information would constitute an unwarranted invasion of privacy.
                      Decision Brief                              Release of this information would not shed light on CBP’s actions and
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                                                                  there is no public interest served in their disclosure.



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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  Information is redacted pursuant to (b)(7)(E), as this document
                                                                  specifies the requirements for remote video surveillance systems in
                                                                  two USBP sectors. Public disclosure of operational gaps and the
                                                                  agency’s plans for resolving them would permit individuals in or near
                                                                  the sectors to effectuate countermeasures to avoid detection or
                                                                  circumvent the law or otherwise frustrate law enforcement
                                                                  operations.
0032 – BW FOIA        Briefing Slides for       (b)(5)            Images of uniformed USBP agents attending a planning meeting are
                      Office of Management      (b)(6)            redacted pursuant to (b)(6) and (b)(7)(C), as the release of such images
                      and Budget (“OMB”)        (b)(7)(C)         would constitute an unwarranted invasion of privacy. Release of this
                      re: CBP Updated           (b)(7)(E)         information would not shed light on CBP’s actions and there is no
                      Southwest Border                            public interest served its disclosure.
                      Technology Plan
                                                                  Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                                                                  decisional document was compiled by USBP for law enforcement
                                                                  purposes and concerns revisions to CBP’s Southwest Border Plan to
                                                                  inform the agency’s fiscal year (“FY”)2018 budget request. The
                                                                  document identifies CBP’s current technology laydowns, specifies
                                                                  capability gaps in various sectors, and recommends courses of action
                                                                  for meeting operational requirements for the next 2-7 years. Public
                                                                  disclosure of such information would permit individuals to effectuate
                                                                  countermeasures or otherwise frustrate law enforcement operations
                                                                  or the agency’s future decisions concerning those operations.
0035 – BW FOIA        Biological Assessment     (b)(6)            Names and telephone numbers of individual government employees
                      for Proposed Border       (b)(7)(C)         are redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      Fence                     (b)(7)(E)         information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served in its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E), as the information
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 30 of 73




                                                                  identifies proposed fencing locations within a specific CBP area of
                                                                  responsibility, including areas where gaps in fencing would be

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  purposefully placed for cost or environmental reasons and areas
                                                                  where technology laydowns could be performed for added
                                                                  surveillance. Disclosure of such information could permit individuals to
                                                                  avoid detection, effectuate countermeasures, or otherwise frustrate
                                                                  law enforcement operations.
0036 – BW FOIA        Map of USBP Fence         (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document is a
                      along Southwest                             map identifying the locations of CBP laydowns of infrastructure and
                      Border                                      surveillance technology along the southwest border. Disclosure of
                                                                  such information could permit individuals to avoid detection,
                                                                  effectuate countermeasures, or otherwise frustrate law enforcement
                                                                  operations.
0037 – BW FOIA        Map of USBP Fence         (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document
                      along Southwest                             contains maps identifying the locations of CBP laydowns of
                      Border                                      infrastructure and surveillance technology along the southwest
                                                                  border. Disclosure of such information could permit individuals to
                                                                  avoid detection, effectuate countermeasures, or otherwise frustrate
                                                                  law enforcement operations.
0038 – BW FOIA        Map of USBP Fence         (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document
                      along Southwest                             contains maps identifying the locations of CBP laydowns of
                      Border                                      infrastructure and surveillance technology along the southwest
                                                                  border. Disclosure of such information could permit individuals to
                                                                  avoid detection, effectuate countermeasures, or otherwise frustrate
                                                                  law enforcement operations.
0039 – BW FOIA        Map of USBP Fence         (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as the document
                      along Southwest                             contains maps identifying the locations of CBP laydowns of
                      Border                                      infrastructure and surveillance technology along the southwest
                                                                  border. Disclosure of such information could permit individuals to
                                                                  avoid detection, effectuate countermeasures, or otherwise frustrate
                                                                  law enforcement operations.
0041 – BW FOIA        Integrated Fixed          (b)(6)            Names and signatures of individual government employees or third-
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 31 of 73




                      Towers System             (b)(7)(C)         parties have been redacted pursuant to (b)(6) and (b)(7)(C), as the
                      Operational               (b)(7)(E)         release of such information would constitute an unwarranted invasion

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                 DESCRIPTION             CLAIMED
                      Requirements                                of privacy. Release of this information would not shed light on CBP’s
                      Document                                    actions and there is no public interest served in their disclosure.

                                                                  Information has been redacted pursuant to (b)(7)(E), as the
                                                                  information was compiled for law enforcement purposes to address
                                                                  USBP’s capability gaps and how integrated fixed tower (“IFT”) systems
                                                                  may be an approach for meeting operational needs. The document
                                                                  identifies CBP’s concept of operations for border security, and areas of
                                                                  responsibility and the operational needs within those areas (including
                                                                  surveillance ranges and other key performance parameters).
                                                                  Disclosure of such information would reveal the agency’s capability
                                                                  gaps and CBP’s approach to filling them. It can reasonably be
                                                                  expected that such disclosure would permit individuals to effectuate
                                                                  countermeasures in order to circumvent the law or otherwise frustrate
                                                                  law enforcement operations.
0042 – BW FOIA        RVSS Upgrade Limited      (b)(5)            Names, signatures, and telephone numbers of individual government
                      User Test Final Report    (b)(6)            employees and other third-parties have been redacted pursuant to
                                                (b)(7)(C)         (b)(6) and (b)(7)(C), as the release of such information would
                                                (b)(7)(E)         constitute an unwarranted invasion of privacy. Release of this
                                                                  information would not shed light on CBP’s actions and there is no
                                                                  public interest served in their disclosure.

                                                                  Information has been redacted pursuant to (b)(5) and (b)(7)(E), as this
                                                                  pre-decisional document was compiled by CBP’s Office of Innovation
                                                                  and Technology Acquisition for law enforcement purposes to
                                                                  determine the operational effectiveness, suitability, and readiness for
                                                                  CBP’s remote video surveillance system (“RVSS”) upgrade. Redacted
                                                                  information includes test locations, system descriptions and
                                                                  specifications, current technology laydowns, and the results of system
                                                                  testing – including operational deficiencies, conditions under which
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 32 of 73




                                                                  systems are most or least effective, and recommendations for filling
                                                                  capability gaps. Disclosure of such information would reveal law

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 DOCUMENT BATES            DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
    NUMBER                 DESCRIPTION            CLAIMED
                                                                  enforcement techniques and procedures, as well as system
                                                                  capabilities, which could reasonably be expected to permit individuals
                                                                  to alter their patterns of conduct, adopt new methods of operation,
                                                                  relocate, or effectuate other countermeasures in order to avoid
                                                                  detection, circumvent the law, or otherwise frustrate law enforcement
                                                                  operations.
043 – BW FOIA         Mobile Video              (b)(6)            Names, signatures, and telephone numbers of individual government
                      Surveillance System       (b)(7)(C)         employees are redacted pursuant to (b)(6) and (b)(7)(C), as the release
                      Operational               (b)(7)(E)         of such information would constitute an unwarranted invasion of
                      Requirements                                privacy. Release of this information would not shed light on CBP’s
                      Document                                    actions and there is no public interest served in their disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E), as this document was
                                                                  compiled for law enforcement purposes to identify the operational
                                                                  requirements for CBP’s mobile video surveillance system (“MVSS”).
                                                                  Redacted information includes operational assumptions and system
                                                                  descriptions and specifications/key performance parameters.
                                                                  Disclosure of such information would reveal law enforcement
                                                                  techniques and procedures, as well as system requirements, which
                                                                  could reasonably be expected to permit individuals to alter their
                                                                  patterns of conduct, adopt new methods of operation, relocate, or
                                                                  effectuate other countermeasures in order to avoid detection,
                                                                  circumvent the law, or otherwise frustrate law enforcement
                                                                  operations.
0044 – BW FOIA        RVSS Operational          (b)(6)            Names and signatures of individual government employees are
                      Requirements              (b)(7)(C)         redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                      Document                  (b)(7)(E)         information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served in their disclosure.
                                                                  Information is redacted pursuant to (b)(7)(E), as the information was
                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 33 of 73




                                                                  compiled for law enforcement purposes to identify the operational
                                                                  requirements for RVSS. Redacted information includes operational

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DOCUMENT BATES             DOCUMENT              EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION             CLAIMED
                                                                  assumptions and system descriptions and specifications/key
                                                                  performance parameters. Disclosure of such information would reveal
                                                                  law enforcement techniques and procedures, as well as system
                                                                  capabilities, which could reasonably be expected to permit individuals
                                                                  to alter their patterns of conduct, adopt new methods of operation, or
                                                                  effectuate other countermeasures in order to avoid detection,
                                                                  circumvent the law, or otherwise frustrate law enforcement
                                                                  operations.
0045 – BW FOIA        Border Patrol Facilities   (b)(5)           Names have been redacted pursuant to (b)(6), as the release of such
                      and Tactical               (b)(6)           information would constitute an unwarranted invasion of privacy.
                      Infrastructure Design      (b)(7)(E)        Release of this information would not shed light on CBP’s actions and
                      Standards                                   there is no public interest served in their disclosure.
                                                                  Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                                                                  decisional document was prepared by CBP’s Office of Facilities,
                                                                  Management, and Engineering for law enforcement purposes and
                                                                  details the tactical infrastructure design standards for border fencing,
                                                                  including locations and design drawings and specifications. Public
                                                                  disclosure of the underlying design drawings and specifications
                                                                  (including specific dimensions and parameters) could reasonably be
                                                                  expected to permit individuals to effectuate countermeasures to
                                                                  undermine the structural integrity of the infrastructure in order to
                                                                  avoid detection, circumvent the law, or otherwise impede law
                                                                  enforcement operations.
0047 – BW FOIA        Biological Survey for      (b)(7)(E)        Information has been redacted pursuant to Exemption (b)(7)(E), as
                      Construction,              (b)(6)           such information was compiled for law enforcement purposes and
                      Operation, and                              would reveal the results of specific locations or specifics of land survey
                      Maintenance of Vehicle                      results. Disclosure of such information would permit individuals to
                      Fence Tucson Sector,                        alter their patterns of conduct, adopt new methods of operation,
                      Arizona                                     relocate, change associations, and effectuate other countermeasures,
                                                                  thus, corrupting the integrity of ongoing techniques, operations and
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                                                                  investigations, and potentially compromising officer safety.



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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  Names of biologists who conducted the survey were redacted
                                                                  pursuant to Exemption (b)(6). The privacy interests of the individuals
                                                                  in the records outweigh any minimal public interest in disclosure of
                                                                  the information.
0048 – BW FOIA        Email re: Presidential    (b)(6)            Names, phone numbers, and worksite locations of CBP employees
                      Transition Team           (b)(7)(C)         were redacted pursuant to Exemption (b)(6). The privacy interests of
                      Request for Fence                           the individuals in the records outweigh any minimal public interest in
                      Drawings and Maps                           disclosure of the information.

                                                                  Names, phone numbers, and worksite locations of CBP employees
                                                                  were also redacted pursuant to Exemption (b)(7)(C). This information
                                                                  was compiled for law enforcement purposes and its release could
                                                                  reasonably be expected to constitute an unwarranted invasion of
                                                                  personal privacy.
0049 – BW FOIA        Summary of CBP            (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as this document was
                      Environmental                               prepared for law enforcement purposes in connection with the
                      Stewardship Initiatives                     placement of tactical infrastructure in a specific section of a CBP area
                      in Tucson Sector                            of responsibility. The document illustrates the structural components
                                                                  of the fencing. Individuals routinely damage fence in an effort to enter
                                                                  the country between official ports of entry. Disclosure of this
                                                                  information could reasonably be expected to assist individuals in or
                                                                  near the area in effecting countermeasures in order to circumvent the
                                                                  law.
0050 – BW FOIA        Email re: Presidential    (b)(6)            Names, phone numbers, and worksite locations of CBP employees
                      Transition Team           (b)(7)(C)         were redacted pursuant to Exemption (b)(6). The privacy interests of
                      Request for                                 the individuals in the records outweigh any minimal public interest in
                      Interagency                                 disclosure of the information.
                      Agreements between
                      CBP and U.S. Army                           Names, phone numbers, and worksite locations of CBP employees
                      Corps of Engineers for                      were also redacted pursuant to Exemption (b)(7)(C). This information
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 35 of 73




                      Border Construction                         was compiled for law enforcement purposes and its release could
                      Management

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   NUMBER                  DESCRIPTION            CLAIMED
                                                                  reasonably be expected to constitute an unwarranted invasion of
                                                                  personal privacy.
0053 – BW FOIA        Email re: Presidential    (b)(6)            Names and phone numbers of CBP employees were redacted pursuant
                      Transition Team           (b)(7)(C)         to Exemption (b)(6). The privacy interests of the individuals in the
                      Request for Drawings                        records outweigh any minimal public interest in disclosure of the
                      and Maps of Southwest                       information.
                      Border
                                                                  Names and phone numbers of CBP employees were also redacted
                                                                  pursuant to Exemption (b)(7)(C). This information was compiled for
                                                                  law enforcement purposes and its release could reasonably be
                                                                  expected to constitute an unwarranted invasion of personal privacy.
0054 – BW FOIA        Interagency Agreement     (b)(6)            Names, phone numbers, and addresses of Federal employees and
                      (“IAA”) between CBP       (b)(7)(C)         Business Partner Network (BPN) Numbers were redacted pursuant to
                      and Federal Aviation      (b)(7)(E)         Exemption (b)(6). The privacy interests of the individuals in the
                      Administration (“FAA”)                      records outweigh any minimal public interest in disclosure of the
                      Logistics Center                            information.

                                                                  Names, phone numbers, and addresses of Federal employees and
                                                                  Business Partner Network (BPN) Numbers were also redacted
                                                                  pursuant to Exemption (b)(7)(C). This information was compiled for
                                                                  law enforcement purposes and its release could reasonably be
                                                                  expected to constitute an unwarranted invasion of personal privacy.

                                                                  Agency locator codes were redacted for pursuant to Exemption
                                                                  (b)(7)(E). Disclosure of such information would permit individuals to
                                                                  alter their patterns of conduct, adopt new methods of operation,
                                                                  relocate, change associations, and effectuate other countermeasures,
                                                                  thus, corrupting the integrity of ongoing techniques, operations and
                                                                  investigations, and potentially compromising officer safety.
0055 – BW FOIA        IAA between CBP and       (b)(6)            Names, phone numbers, and addresses of Federal employees and Data
                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 36 of 73




                      U.S. Army Corps of        (b)(7)(C)         Universal Numbering System (DUNS) Numbers were redacted
                      Engineers                                   pursuant to Exemption (b)(6). The privacy interests of the individuals

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   NUMBER                  DESCRIPTION            CLAIMED
                                                                  in the records outweigh any minimal public interest in disclosure of
                                                                  the information.

                                                                  Names, phone numbers, and addresses of Federal employees and Data
                                                                  Universal Numbering System (DUNS) Numbers were also redacted
                                                                  pursuant to Exemption (b)(7)(C). This information was compiled for
                                                                  law enforcement purposes and its release could reasonably be
                                                                  expected to constitute an unwarranted invasion of personal privacy.
0056 – BW FOIA        CBP Interim Response      (b)(7)(E)         Specific requirements for border security have been redacted pursuant
                      to Presidential                             to Exemption (b)(7)(E). Disclosure of such information would permit
                      Transition Team                             individuals to alter their patterns of conduct, adopt new methods of
                      Request for                                 operation, relocate, change associations, and effectuate other
                      Information                                 countermeasures, thus, corrupting the integrity of ongoing techniques,
                                                                  operations and investigations, and potentially compromising officer
                                                                  safety.
0058 – BW FOIA        CBP Response to           (b)(7)(E)         Information relating to fencing miles, damage, and execution of
                      Presidential Transition                     repairs has been redacted pursuant to Exemption (b)(7)(E), as such
                      Team Tasking re:                            information was compiled for law enforcement purposes and would
                      Southwest Border                            reveal specifics about the land. Disclosure of such information would
                      Fence Maintenance                           permit individuals to alter their patterns of conduct, adopt new
                      and Repair                                  methods of operation, relocate, change associations, and effectuate
                                                                  other countermeasures, thus, corrupting the integrity of ongoing
                                                                  techniques, operations and investigations, and potentially
                                                                  compromising officer safety.
0059 – BW FOIA        Reimbursable Work         (b)(6)            Names, phone numbers, and addresses of Federal employees were
                      Authorization 2208710     (b)(7)(C)         redacted pursuant to Exemption (b)(6). The privacy interests of the
                                                (b)(7)(E)         individuals in the records outweigh any minimal public interest in
                                                                  disclosure of the information.

                                                                  Names, phone numbers, and addresses of Federal employees were
                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 37 of 73




                                                                  also redacted pursuant to Exemption (b)(7)(C). This information was
                                                                  compiled for law enforcement purposes and its release could

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  reasonably be expected to constitute an unwarranted invasion of
                                                                  personal privacy.

                                                                  Agency locator codes were redacted for pursuant to Exemption
                                                                  (b)(7)(E). Disclosure of such information would permit individuals to
                                                                  alter their patterns of conduct, adopt new methods of operation,
                                                                  relocate, change associations, and effectuate other countermeasures,
                                                                  thus, corrupting the integrity of ongoing techniques, operations and
                                                                  investigations, and potentially compromising officer safety. Line items
                                                                  identifying pedestrian fence construction locations in specified USBP
                                                                  sectors along the southern border and the associated costs in the
                                                                  Reimbursable Work Authorization are also redacted pursuant to
                                                                  Exemption (b)(7)(E), as such information was compiled for law
                                                                  enforcement purposes and would reveal the agency’s tactical
                                                                  investments in those areas and the level of costs expended in each
                                                                  sector. Disclosure of such information could permit individuals to
                                                                  alter their patterns of conduct, adopt new methods of operation,
                                                                  relocate, or effectuate other countermeasures in order to circumvent
                                                                  the law.
0060 – BW FOIA        SBInet Fence Lab          (b)(7)(E)         Test performance criteria and test facility locations have been
                      Overview                                    redacted pursuant to Exemption (b)(7)(E), as such information was
                                                                  compiled for law enforcement purposes. Disclosure of such
                                                                  information would permit individuals to alter their patterns of
                                                                  conduct, adopt new methods of operation, relocate, change
                                                                  associations, and effectuate other countermeasures, thus, corrupting
                                                                  the integrity of ongoing techniques, operations and investigations, and
                                                                  potentially compromising officer safety.
0061 – BW FOIA        Order for Supplies and    (b)(4)            Unit prices and total costs were redacted pursuant to exemption
                      Services from The         (b)(6)            (b)(4). Exemption (b)(4) protects trade secrets and commercial or
                      Boeing Company –          (b)(7)(C)         financial information obtained from a person that is privileged or
                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 38 of 73




                      Delivery Order                              confidential.
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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  Names and contractor Tax Identification Numbers (TINs) were
                                                                  redacted pursuant to Exemption (b)(6). The privacy interests of the
                                                                  government contractor in the records outweigh any minimal public
                                                                  interest in disclosure of the information.

                                                                  Name of the contractor’s representative and the contractor’s Tax
                                                                  Identification Numbers (TINs) were also redacted pursuant to
                                                                  Exemption (b)(7)(C). This information was compiled for law
                                                                  enforcement purposes and its release could reasonably be expected to
                                                                  constitute an unwarranted invasion of personal privacy.
0062 – BW FOIA        Notes for Delivery   (b)(4)                 Prices and fees were redacted pursuant to exemption (b)(4).
                      Order HSBP1007J15464 (b)(6)                 Exemption (b)(4) protects trade secrets and commercial or financial
                                           (b)(7)(C)              information obtained from a person that is privileged or confidential.

                                                                  Names and Tax Exempt ID Numbers were redacted pursuant to
                                                                  Exemption (b)(6). The privacy interests of the government contractor
                                                                  in the records outweigh any minimal public interest in disclosure of
                                                                  the information.

                                                                  Names and Tax Exempt ID Numbers were also redacted pursuant to
                                                                  Exemption (b)(7)(C). This information was compiled for law
                                                                  enforcement purposes and its release could reasonably be expected to
                                                                  constitute an unwarranted invasion of personal privacy.
0063 – BW FOIA        Schedule of               (b)(4)            Prices and costs were redacted pursuant to Exemption (b)(4). FOIA
                      Supplies/Services for                       Exemption (b)(4) protects trade secrets and commercial or financial
                      Delivery Order                              information obtained from a person that is privileged or confidential.
                      HSBP1007J15464
0064 – BW FOIA        Tactical Infrastructure   (b)(6)            The point of contact’s (“POC’s”) name was redacted pursuant to
                      – Fence and Roads,        (b)(7)(C)         Exemption (b)(6). The privacy interests of the individuals in the
                      Executive Summary         (b)(7)(E)         records outweigh any minimal public interest in disclosure of the
                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 39 of 73




                                                                  information.



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   NUMBER                  DESCRIPTION            CLAIMED
                                                                  The POC’s name was also redacted pursuant to Exemption (b)(7)(C).
                                                                  This information was compiled for law enforcement purposes and its
                                                                  release could reasonably be expected to constitute an unwarranted
                                                                  invasion of personal privacy.

                                                                  Border security infrastructure specifics and locations have been
                                                                  redacted pursuant to Exemption (b)(7)(E), as such information was
                                                                  compiled for law enforcement purposes. Disclosure of such
                                                                  information would permit individuals to alter their patterns of
                                                                  conduct, adopt new methods of operation, relocate, change
                                                                  associations, and effectuate other countermeasures, thus, corrupting
                                                                  the integrity of ongoing techniques, operations and investigations, and
                                                                  potentially compromising officer safety.
0065 – BW FOIA        Response to               (b)(5)            Information concerning potential plans for future testing analyses for
                      Presidential Transition   (b)(7)(E)         the Aerostat aerial surveillance program along the southwest border
                      Tasking re: Border                          were redacted pursuant to exemption (b)(5). Exemption (b)(5)
                      Infrastructure and
                                                                  exempts from disclosure information considered to be pre-decisional
                      Technology
                                                                  and deliberative, and inter-agency or intra-agency memoranda or
                                                                  letters which would not be available by law to a party other than an
                                                                  agency in litigation with the agency.

                                                                  Border security assets, capabilities, and location data have been
                                                                  redacted pursuant to Exemption (b)(7)(E), as such information was
                                                                  compiled for law enforcement purposes. Disclosure of such
                                                                  information would permit individuals to alter their patterns of
                                                                  conduct, adopt new methods of operation, relocate, change
                                                                  associations, and effectuate other countermeasures, thus, corrupting
                                                                  the integrity of ongoing techniques, operations and investigations, and
                                                                  potentially compromising officer safety.
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      NUMBER              DESCRIPTION              CLAIMED
0067 – BW FOIA        POCs with Roles in        (b)(6)            Names and phone numbers of CBP employees were redacted pursuant
                      Fence/Infrastructure      (b)(7)(C)         to Exemption (b)(6). The privacy interests of the individuals in the
                      Program                                     records outweigh any minimal public interest in disclosure of the
                                                                  information.

                                                                  Names and phone numbers of CBP employees were also redacted
                                                                  pursuant to Exemption (b)(7)(C). This information was compiled for
                                                                  law enforcement purposes and its release could reasonably be
                                                                  expected to constitute an unwarranted invasion of personal privacy.
0068 – BW FOIA        Executive Summary -       (b)(5)            Projects in process were redacted pursuant to Exemption (b)(5). FOIA
                      Tactical Infrastructure   (b)(6)            Exemption (b)(5) exempts from disclosure information considered to
                      Fence and Roads           (b)(7)(C)         be pre-decisional and deliberative, and inter-agency or intra-agency
                                                (b)(7)(E)         memoranda or letters which would not be available by law to a party
                                                                  other than an agency in litigation with the agency.

                                                                  The POC’s name, email, and phone number was redacted pursuant to
                                                                  Exemption (b)(6). The privacy interests of the individuals in the
                                                                  records outweigh any public interest in disclosure of the information.

                                                                  The POC’s name, email, and phone number was also redacted
                                                                  pursuant to Exemption (b)(7)(C). This information was compiled for
                                                                  law enforcement purposes and its release could reasonably be
                                                                  expected to constitute an unwarranted invasion of personal privacy.

                                                                  Border security infrastructure specifics and requirements have been
                                                                  redacted pursuant to Exemption (b)(7)(E), as such information was
                                                                  compiled for law enforcement purposes. Disclosure of such
                                                                  information would permit individuals to alter their patterns of
                                                                  conduct, adopt new methods of operation, relocate, change
                                                                  associations, and effectuate other countermeasures, thus, corrupting
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                                                                  the integrity of ongoing techniques, operations and investigations, and
                                                                  potentially compromising officer safety.

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      NUMBER              DESCRIPTION              CLAIMED
0069 – BW FOIA        USBP Requirements         (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as it describes USBP’s
                      Management Process                          process for identifying its operational requirements. The document
                      Description                                 specifies levels (or “Tiers”) for the operational need and the associated
                                                                  timeframes within which the capability gap must be filled and the
                                                                  factors that go into prioritizing the operational need. Disclosure of
                                                                  such information would reveal the methods and techniques by which
                                                                  USBP defines its operational needs to meet its law enforcement
                                                                  mission.
0070 – BW FOIA        U.S. Border Patrol        (b)(6)            The name and signature of a CBP employee was redacted pursuant to
(Parts 1 - 4)         Internal Operating        (b)(7)(C)         Exemption (b)(6). The privacy interests of the individuals in the
                      Procedure (“IOP”)         (b)(7)(E)         records outweigh any minimal public interest in disclosure of the
                      Capability Gap Analysis                     information. Exemption (b)(7)(C) was also applied, as this information
                      Process                                     was compiled for law enforcement purposes and its release could
                                                                  reasonably be expected to constitute an unwarranted invasion of
                                                                  personal privacy.

                                                                  Information is redacted pursuant to (b)(7)(E), as this IOP describes the
                                                                  methods USBP uses to analyze its capability gaps. The document
                                                                  describes specific tools and quantitative data points that should be
                                                                  included in the analysis and includes in an attached user guide
                                                                  screenshots displaying how the information appears when input into
                                                                  USBP’s systems. Disclosure of such information would reveal the
                                                                  methods and techniques by which USBP analyzes its capability gaps to
                                                                  effect its law enforcement mission.
0071 – BW FOIA        Homeland Security         (b)(5)            The names of third parties have been redacted pursuant to (b)(6) and
                      Studies & Analysis        (b)(6)            (b)(7)(C), as the release of such information would constitute an
                      Institute - SBInet        (b)(7)(C)         unwarranted invasion of privacy. Release of this information would
                      Independent               (b)(7)(E)         not shed light on CBP’s actions and there is no public interest served
                      Assessment: Analysis of                     its disclosure.
                      Alternatives, Phase 1B
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                                                                  Information has been redacted pursuant to (b)(5) and (b)(7)(E), as this
                                                                  document was compiled for law enforcement purposes and concerns

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
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                                                                  the independent, pre-decisional assessment of SBInet to provide an
                                                                  analysis of alternatives for the SBInet program director and acquisition
                                                                  officials to support decisions regarding the continued deployment of
                                                                  the program. This document identifies specific testing locations, test
                                                                  conditions, technology assets, law enforcement assumptions and
                                                                  protocols, and conclusions as they relate to law enforcement
                                                                  techniques and procedures. Public disclosure of capability gaps,
                                                                  specific technologies employed (including conditions under which they
                                                                  are least or most effective), and law enforcement techniques and
                                                                  procedures would permit individuals to effectuate countermeasures or
                                                                  otherwise frustrate law enforcement operations or the agency’s future
                                                                  decisions concerning those operations.
0072 – BW FOIA        Biological Resources      (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as it provides station-
                      Plan for Construction,                      specific details concerning the agency’s plans for border fence
                      Operation, and                              construction and maintenance within USBP’s San Diego sector.
                      Maintenance of                              Disclosure of this information could reasonably be expected to assist
                      Tactical Infrastructure                     individuals near or within the area of responsibility in avoiding
                      for San Diego Sector,                       detection and circumventing the law.
                      California
0073 – BW FOIA        Briefing Slides:          (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                      Overview of CBP Fence     (b)(7)(E)         decisional document was prepared by CBP’s Office of Facilities and
                      and Roads                                   Management (“OFAM”) to provide USBP leadership and overview of
                                                                  CBP’s current tactical infrastructure assets and proposals for the
                                                                  placement of new fence along both the northern and southern
                                                                  borders, inclusive of maps. Exemption (b)(5) was also applied to
                                                                  information provided by the Office of Chief Counsel (“OCC”)
                                                                  concerning relevant legal considerations. Public disclosure of the
                                                                  redacted information could affect the agency’s decision-making
                                                                  process, reveal law enforcement sensitive information that may assist
                                                                  individuals in the affected areas of responsibility in avoiding detection
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                                                                  and circumventing the law, and undermine the attorney-client
                                                                  relationship.

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0074 – BW FOIA        Summary of                (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E), as this
                      Unconstrained             (b)(7)(E)         information is excerpted from the pre-decisional document above
                      Operational Needs &                         (0073 – BW FOIA), and details the agency’s requirement for the
                      Cost Estimates                              construction of new tactical infrastructure and roads and the repair
                      (excerpted from                             and replacement of existing infrastructure along both the northern
                      Overview of CBP Fence                       and southern borders. Public disclosure of the redacted information
                      and Roads)                                  could undermine the agency’s decision-making process as well as
                                                                  reveal law enforcement sensitive information that may assist
                                                                  individuals in the affected areas of responsibility in avoiding detection
                                                                  and circumventing the law, particularly with respect to proposals
                                                                  concerning repair and replacement of existing infrastructure
0075 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking for Southern                        such information would constitute an unwarranted invasion of privacy.
                      Border Overview and                         Release of this information would not shed light on CBP’s actions and
                      Maps                                        there is no public interest served its disclosure.

0076 – BW FOIA        Response to               (b)(5)            Information describing the agency’s potential funding approaches to
                      Presidential Transition   (b)(7)(E)         new infrastructure construction has been redacted pursuant to (b)(5)
                      Team Tasking                                and (b)(7)(E). The information is pre-decisional in nature and, in
                      Concerning                                  describing alternatives, details CBP’s funding commitments for major
                      Infrastructure Funding                      construction, alterations, and repairs for certain other CBP law
                                                                  enforcement programs. The disclosure of such information could
                                                                  reveal capability gaps in CBP law enforcement programs unrelated to
                                                                  border infrastructure and undermine the agency’s decision-making
                                                                  process with respect to those programs.
0077 – BW FOIA        Overview of CBP Fence     (b)(5)            Information concerning USBP’s tactical infrastructure requirements is
                                                (b)(7)(E)         redacted pursuant to (b)(5) and (b)(7)(E). Information included in the
                                                                  slides was previously provided to USBP from the Office of Chief
                                                                  Counsel (“OCC”) and is redacted pursuant to (b)(5), as it concerns
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                                                                  certain legal considerations with respect to fence construction. OCC



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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  provided the information to USBP for the purposes of providing legal
                                                                  advice, and it is therefore protected by the attorney-client privilege.

                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to USBP’s
                                                                  plans to for repair and replacement of fencing and other infrastructure
                                                                  and the construction of new fence (including possible design/material
                                                                  style and proposed mileage of new fence) in USBP sectors. The
                                                                  disclosure of such information could reveal capability gaps in the
                                                                  specified sectors, which may assist individuals in or near those areas in
                                                                  effecting countermeasures, avoiding detection, or otherwise
                                                                  circumventing the law.
0078 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0079 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0080 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
0081 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 45 of 73




                      Tasking                                     such information would constitute an unwarranted invasion of privacy.



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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
0082 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
0083 – BW FOIA        Response to               (b)(5)            Information describing the agency’s potential funding approaches to
                      Presidential Transition   (b)(7)(E)         new infrastructure construction has been redacted pursuant to (b)(5)
                      Team Tasking                                and (b)(7)(E). The information is pre-decisional in nature and, in
                      Concerning                                  describing alternatives, details CBP’s funding commitments for major
                      Infrastructure Funding                      construction, alterations, and repairs for certain other CBP law
                                                                  enforcement programs. The disclosure of such information could
                                                                  reveal capability gaps in CBP law enforcement programs unrelated to
                                                                  border infrastructure and undermine the agency’s decision-making
                                                                  process with respect to those programs.
0084 – BW FOIA        Response to               (b)(5)            Information describing the agency’s potential funding approaches to
                      Presidential Transition   (b)(7)(E)         new infrastructure construction has been redacted pursuant to (b)(5)
                      Team Tasking                                and (b)(7)(E). The information is pre-decisional in nature and, in
                      Concerning                                  describing alternatives, details CBP’s funding commitments for major
                      Infrastructure Funding                      construction, alterations, and repairs for certain other CBP law
                                                                  enforcement programs. The disclosure of such information could
                                                                  reveal capability gaps in CBP law enforcement programs unrelated to
                                                                  border infrastructure and undermine the agency’s decision-making
                                                                  process with respect to those programs.
0085 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
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0087 – BW FOIA        Interagency Agreement     (b)(6)            Names, addresses, emails, and phone numbers of government
                      between CBP and FAA       (b)(7)(C)         employees have been redacted pursuant to (b)(6) and (b)(7)(C), as the

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DOCUMENT BATES               DOCUMENT           EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                   DESCRIPTION           CLAIMED
                      Logistics Center –                          release of such information would constitute an unwarranted invasion
                      Agreement No.                               of privacy. Release of this information would not shed light on CBP’s
                      HSBP1015X00122                              actions and there is no public interest served in their disclosure.
                      (Modification 2)
0088 – BW FOIA        Interagency Agreement     (b)(6)            Names, addresses, emails, and phone numbers of government
                      between CBP and FAA       (b)(7)(C)         employees have been redacted pursuant to (b)(6) and (b)(7)(C), as the
                      Logistics Center –                          release of such information would constitute an unwarranted invasion
                      Agreement No.                               of privacy. Release of this information would not shed light on CBP’s
                      HSBP1015X00122                              actions, and no public interest is served in its disclosure.
                      (Modification 1)
0089 – BW FOIA        Facilities Management     (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E) as it is a pre-
                      and Engineering Border    (b)(6)            decisional document describing USBP’s proposed plans for
                      Patrol and Air & Marine   (b)(7)(C)         construction of new and replacement tactical infrastructure within
                      Program Management        (b)(7)(E)         specified sectors along the northern and southern borders. Exemption
                      Office                                      (b)(5) is also applied to information previously furnished by OCC
                                                                  discussing legal considerations related to the proposed construction,
                                                                  which is covered by the attorney-client privilege. Release of this
                                                                  information could undermine the agency’s decision-making process, as
                                                                  well as provide information to the public that could assist individuals in
                                                                  the specified sectors avoiding detection and circumventing the law.

                                                                  The name and contact information of a government employee is
                                                                  redacted pursuant to (b)(6) and (b)(7)(C), as the release of such
                                                                  information would constitute an unwarranted invasion of privacy.
                                                                  Release of such information would not shed light on CBP’s actions, and
                                                                  no public interest is served in its disclosure.
0090 – BW FOIA        Design Drawings for       (b)(4)            Information is redacted pursuant to (b)(4), as the drawing is marked as
                      Border Fence              (b)(7)(E)         proprietary information of the company furnishing the designs. This
                                                                  information constitutes the firm’s trade secrets concerning its style of
                                                                  work, which is prohibited from disclosure pursuant to 18 U.S.C. 1905.
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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                               BASIS FOR EXEMPTION
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                                                                  Exemption (b)(7)(E) is applied, as the document provides the
                                                                  specifications for tactical infrastructure (e.g., height, width, materials).
                                                                  Individuals routinely damage border fence in an effort to enter the
                                                                  country between official ports of entry. Disclosure of the
                                                                  specifications for the border fencing could assist individuals in avoiding
                                                                  detection and circumventing the law.
0091 – BW FOIA        Fence Products Section    (b)(4)            Information is redacted pursuant to (b)(4), as the document contains
                      02825 Specifications      (b)(6)            further specification supporting the design provided in 0090 – BW
                                                (b)(7)(C)         FOIA above. The drawing is marked as proprietary information of the
                                                (b)(7)(E)         company furnishing the designs. This information constitutes the
                                                                  firm’s trade secrets concerning its style of work, which is prohibited
                                                                  from disclosure pursuant to 18 U.S.C. 1905

                                                                  Exemption (b)(7)(E) is applied, as the document provides the
                                                                  specifications for tactical infrastructure (e.g., height, width, materials,
                                                                  performance parameter such as impact resistance). Individuals
                                                                  routinely damage border fence in an effort to enter the country
                                                                  between official ports of entry. Disclosure of the specifications for the
                                                                  border fencing could assist individuals in avoiding detection and
                                                                  circumventing the law.

                                                                  The name of the manufacturer’s POC is redacted pursuant to (b)(6)
                                                                  and (b)(7)(C), as the release of such information would constitute an
                                                                  unwarranted invasion of privacy. Release of such information would
                                                                  not shed light on CBP’s actions, and no public interest is served in its
                                                                  disclosure.
0093 – BW FOIA        Statement of Work         (b)(6)            The names and contact information of government employees and
                      Supporting Interagency    (b)(7)(C)         Sandia employees are redacted pursuant to (b)(6) and (b)(7)(C), as the
                      Agreement between         (b)(7)(E)         release of such information would constitute an unwarranted invasion
                      CBP and Sandia                              of privacy. Release of such information would not shed light on CBP’s
                                                                                                                                                 Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 48 of 73




                      National Laboratories                       actions, and no public interest is served in its disclosure.
                      (“Sandia”)

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DOCUMENT BATES             DOCUMENT              EXEMPTION(S)                              BASIS FOR EXEMPTION
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                                                                   Exemption (b)(7)(E) is applied to information concerning the nature
                                                                   and location of the specific fence testing and evaluation Sandia was
                                                                   contracted to perform. Individuals routinely damage border fence in
                                                                   an effort to enter the country between official ports of entry.
                                                                   Disclosure of the types of tests CBP performs on tactical infrastructure
                                                                   could assist individuals in avoiding detection and circumventing the
                                                                   law.
0094 – BW FOIA        Operations Support         (b)(6)(b)(7)(C)   Names of CBP employees are redacted pursuant to (b)(6) and (b)(7)(C),
                      Council Discussion                           as the release of such information would constitute an unwarranted
                      Notes                                        invasion of privacy. Release of this information would not shed light
                                                                   on CBP’s actions, and no public interest is served in its disclosure.

0095 – BW FOIA        CBP Components             (b)(7)(E)         Exemption (b)(7)(E) is applied, as this document summarizes the
                      Needs/Requests Doc                           mission needs/requests for USBP and other CBP law enforcement
                                                                   offices, including the Office of Field Operations (OFO) and Air and
                                                                   Marine Operations (AMO). Disclosure of such information would
                                                                   reveal capability gaps which could assist individuals in effecting
                                                                   countermeasures or otherwise circumventing the law.

0096 – BW FOIA        Office of Facilities and   (b)(7)(E)         Exemption (b)(7)(E) is applied to information describing the testing
                      Asset Management                             and evaluation of border fence under CBP’s Fence Lab Project, which
                      (“OFAM”) Response to                         includes details related to the fence design and the operational
                      Presidential Transition                      conditions that affect fence performance. Individuals routinely
                      Team Tasking 170 –                           damage border fence in an effort to enter the country between official
                      Fence Lab                                    ports of entry. Disclosure of these details could assist individuals in
                                                                   avoiding detection and circumventing the law.
0098 – BW FOIA        Summary of Proposed        (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                      New and Replacement        (b)(7)(E)         decisional document identifies by USBP sector proposed new and
                      Tactical Infrastructure                      replacement tactical infrastructure and roads. Disclosure of such
                      and Roads by Sector                          information would undermine the agency’s decision-making process
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 49 of 73




                                                                   and reveal capability gaps that could assist individuals in or near the
                                                                   sectors in avoiding detection of circumventing the law.

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0099 – BW FOIA        Summary of                (b)(5)            The proposed acquisition costs for new infrastructure and the repair
                      Acquisition Costs for                       and replacement of existing infrastructure is redacted pursuant to
                      Proposed New                                (b)(5), as the information is pre-decisional in nature. Public disclosure
                      Infrastructure                              of CBP’s estimates for these expenditures could undermine the
                                                                  agency’s decision-making process inasmuch as there is public concern
                                                                  over the use of taxpayer funds for construction of border
                                                                  infrastructure.
0100 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(E)         have been redacted pursuant to (b)(6), as the release of such
                      Tasking                                     information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to a
                                                                  Presidential Transition Team request for information naming CBP
                                                                  immigration enforcement missions and identifies, in one instance, the
                                                                  operational changes associated with the specified mission. Disclosure
                                                                  of such information could reasonably reveal law enforcement
                                                                  procedures or techniques that could assist individuals in circumventing
                                                                  the law.
0101 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(E)         have been redacted pursuant to (b)(6), as the release of such
                      Tasking                                     information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to a
                                                                  Presidential Transition Team request for information naming CBP
                                                                  immigration enforcement missions and identifies, in one instance, the
                                                                  operational changes associated with the specified mission. Disclosure
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 50 of 73




                                                                  of such information could reasonably reveal law enforcement



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                                                                  procedures or techniques that could assist individuals in circumventing
                                                                  the law.
0102 – BW FOIA        SBInet Fence Lab Task     (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Performance Work          (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Statement, Order          (b)(7)(E)         such information would constitute an unwarranted invasion of privacy.
                      HSBP111007J15464                            Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E), as it specifies the
                                                                  performance requirements for the testing and evaluation of border
                                                                  fence durability and describes the operational conditions under which
                                                                  the fencing is to be tested. Individuals routinely damage border fence
                                                                  in an effort to enter the country between official ports of entry.
                                                                  Disclosure of the conditions under which fencing was tested for
                                                                  durability could assist individuals in avoiding detection and
                                                                  circumventing the law.

0103 – BW FOIA        Response to               (b)(5)            Information describing the agency’s potential funding approaches to
                      Presidential Transition   (b)(7)(E)         new infrastructure construction has been redacted pursuant to (b)(5)
                      Team Tasking                                and (b)(7)(E). The information is pre-decisional in nature and, in
                      Concerning                                  describing alternatives, details CBP’s funding commitments for major
                      Infrastructure Funding                      construction, alterations, and repairs for certain other CBP law
                                                                  enforcement programs. The disclosure of such information could
                                                                  reveal capability gaps in CBP law enforcement programs unrelated to
                                                                  border infrastructure, which could assist individuals in circumventing
                                                                  the law, as well as undermine the agency’s decision-making process
                                                                  with respect to those programs.
0104 – BW FOIA        Briefing Slides: Fence    (b)(4)            Design drawings and specifications previously furnished by the fencing
                      Lab Project               (b)(6)            manufacturers and included in the slides is redacted pursuant to
                                                (b)(7)(C)         (b)(4). The information describes the manufacturers’ design style and
                                                                                                                                            Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 51 of 73




                                                (b)(7)(E)         materials, estimated cost of construction, and includes marked
                                                                  proprietary fence design drawings. Such information is the trade

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                               BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  secret or style of work of the firm furnishing the designs, which is
                                                                  prohibited from disclosure pursuant to 18 U.S.C. 1905.

                                                                  Names of individuals have been redacted pursuant to (b)(6) and
                                                                  (b)(7)(C), as the release of such information would constitute an
                                                                  unwarranted invasion of privacy. Release of this information would
                                                                  not shed light on CBP’s actions and there is no public interest served
                                                                  its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to results of
                                                                  the agency’s Fence Lab Project, under which CBP tested, evaluated,
                                                                  and selected border fence solutions to meet the agency’s
                                                                  requirements. The redacted information describes the performance
                                                                  criteria the solutions were to meet and information concerning the
                                                                  locations of the deployment of the selected solutions. Individuals
                                                                  routinely damage border fence in an effort to enter the country
                                                                  between official ports of entry. Disclosure of the conditions under
                                                                  which fencing was tested for durability could assist individuals,
                                                                  particularly those in or near the areas where the fencing will be
                                                                  deployed, in avoiding detection and circumventing the law.

0105 – BW FOIA        USBP Sector Specific      (b)(7)(E)         Exemption (b)(7)(E) is applied to information USBP’s operational needs
                      Infrastructure                              for new or replacement infrastructure and the order of priority for
                      Operational                                 those needs. The table specifies the locations using
                      Prioritization                              longitudinal/latitudinal coordinates. Individuals routinely damage
                                                                  tactical infrastructure and surveillance equipment in an effort to enter
                                                                  the country between official ports of entry or to avoid detection.
                                                                  Disclosure of the locations of CBP infrastructure down to the
                                                                  geographic coordinates would assist individuals in avoiding detection
                                                                  and circumventing the law.
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 DOCUMENT BATES             DOCUMENT            EXEMPTION(S)                              BASIS FOR EXEMPTION
      NUMBER               DESCRIPTION             CLAIMED
0106 – BW FOIA        Tactical Infrastructure   (b)(6)            The name of a CBP employee has been redacted pursuant to (b)(6) and
                      – Fence and Roads         (b)(7)(C)         (b)(7)(C), as the release of such information would constitute an
                      Executive Summary         (b)(7)(E)         unwarranted invasion of privacy. Release of this information would
                                                                  not shed light on CBP’s actions and there is no public interest served
                                                                  its disclosure.

                                                                  Information regarding border fence infrastructure is redacted pursuant
                                                                  to (b)(7)(E). The redacted information describes the materials of
                                                                  which the fence is made, its effectiveness under certain conditions, the
                                                                  agency’s needs with respect to replacement of certain legacy fence,
                                                                  and locations of two current replacement projects. Individuals
                                                                  routinely damage fencing infrastructure in an effort to enter the
                                                                  country between official ports of entry. Disclosure of information
                                                                  related to the composition of fencing materials, the agency’s
                                                                  operational needs, and the location of ongoing replacement projects
                                                                  could assist individuals in or near the areas in avoiding detection or
                                                                  otherwise circumventing the law.

0107 – BW FOIA        Briefing Slides: SBInet   (b)(6)            The name of the presenter is redacted pursuant to (b)(6), as release of
                      Independent               (b)(7)(E)         the information would constitute an unwarranted invasion of privacy.
                      Assessment: Analysis of                     The information does not shed light on CBP’s action, and no public
                      Alternatives, Phase 2                       interest is served in its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E), as this document was
                                                                  compiled for law enforcement purposes and concerns the second
                                                                  phase of independent assessment of SBInet to provide an analysis of
                                                                  alternatives for the SBInet program director. The document identifies
                                                                  specific testing locations, test conditions, technology assets, law
                                                                  enforcement assumptions and protocols, and conclusions as they
                                                                  relate to law enforcement techniques and procedures. Public
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 53 of 73




                                                                  disclosure of capability gaps, specific technologies employed (including
                                                                  conditions under which they are least or most effective), and law

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  enforcement techniques and procedures would permit individuals to
                                                                  effectuate countermeasures, frustrate law enforcement operations, or
                                                                  otherwise circumvent the law.
0108 – BW FOIA        Northern Border           (b)(7)(E)         Information is redacted pursuant to (b)(7)(E) as it was compiled by
                      Surveillance                                USBP for law enforcement purposes and identifies tactical
                      Technology and                              infrastructure and surveillance system capability gaps that exist in
                      Tactical Infrastructure                     each sector along the northern border. Disclosure of information
                      Memo                                        related to law enforcement vulnerabilities could reasonably assist
                                                                  individuals in or near the sectors in avoiding detection or otherwise
                                                                  circumventing the law.
0109 – BW FOIA        Southwest Border          (b)(7)(E)         Information is redacted pursuant to (b)(7)(E) as it was compiled by
                      Surveillance                                USBP for law enforcement purposes and identifies tactical
                      Technology and                              infrastructure and surveillance system capability gaps that exist in
                      Tactical Infrastructure                     each sector along the southern border. Disclosure of information
                      Memo                                        related to law enforcement vulnerabilities could reasonably assist
                                                                  individuals in or near the sectors in avoiding detection or otherwise
                                                                  circumventing the law.
0110 – BW FOIA        Blueprint                 (b)(4)            Design drawings and specifications furnished by a fencing
                                                (b)(6)            manufacturers is redacted pursuant to (b)(4). Such information is the
                                                (b)(7)(E)         trade secret or style of work of the firm furnishing the design, which is
                                                                  prohibited from disclosure pursuant to 18 U.S.C. 1905.

                                                                  Exemption (b)(7)(E) is applied, as the document provides the design
                                                                  specifications for fencing, the disclosure of which could assist
                                                                  individuals in effecting countermeasures in order to circumvent the
                                                                  law.

                                                                  The name of the manufacturer’s point of contact is redacted pursuant
                                                                  to (b)(6), as the release of this information would constitute an
                                                                  unwarranted invasion of privacy. The information does not shed light
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                                                                  on CBP actions, and no public interest is served by its disclosure.



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 DOCUMENT BATES             DOCUMENT            EXEMPTION(S)                              BASIS FOR EXEMPTION
      NUMBER               DESCRIPTION             CLAIMED
0111 – BW FOIA        Notes from November       (b)(6)            The names of CBP employees participating in the meeting are redacted
                      21, 2016 CBP              (b)(7)(E)         pursuant to (b)(6), as release of the information would constitute an
                      Leadership Meeting                          unwarranted invasion of privacy. The information does not shed light
                                                                  on CBP’s actions, and no public interest is served by its disclosure.

                                                                  Information describing the design of existing fence is redacted
                                                                  pursuant to (b)(7)(E). Individuals routinely damage border fence in
                                                                  effort to enter the country between official ports of entry. Disclosure
                                                                  of the fencing design could assist individuals in effecting
                                                                  countermeasure in order to circumvent the law.
0112 – BW FOIA        Overview of CBP           (b)(6)            This document contains images of uniformed CBP officers and agents
                                                (b)(7)(C)         engaged in their day-to-day law enforcement activities. Beneath each
                                                (b)(7)(E)         image is a by-line crediting the photographer. The names of the
                                                                  photographers are redacted to pursuant to (b)(6) and (b)(7)(C). The
                                                                  names of CBP employees are also redacted pursuant to (b)(6) and
                                                                  (b)(7)(C). The release of this information would constitute an
                                                                  unwarranted invasion of privacy. The information does not shed light
                                                                  on CBP’s actions and, no public interest is served by its disclosure.

                                                                  Information concerning the number of CBP officers assigned to the
                                                                  Federal Bureau of Investigation’s (“FBI’s”) Joint Terrorism Task Force is
                                                                  redacted pursuant to (b)(7)(E), as this information could reveal law
                                                                  enforcement techniques and procedures.
0114 – BW FOIA        Response to               (b)(5)            Information describing the agency’s potential funding approaches to
                      Presidential Transition   (b)(7)(E)         new infrastructure construction has been redacted pursuant to (b)(5)
                      Team Related to                             and (b)(7)(E). The information is pre-decisional in nature and, in
                      Infrastructure Funding                      describing alternatives, details CBP’s funding commitments for major
                                                                  construction, alterations, and repairs for certain law enforcement
                                                                  programs other than USBP. The disclosure of such information could
                                                                  reveal capability gaps in CBP law enforcement programs unrelated to
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 55 of 73




                                                                  border infrastructure and undermine the agency’s decision-making
                                                                  process with respect to those programs.

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 DOCUMENT BATES            DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
      NUMBER              DESCRIPTION              CLAIMED
0116 – BW FOIA        Overview of CBP OFAM      (b)(6)            Exemption (b)(6) is applied to the names and images of CBP
                                                                  employees, as the release would constitute an unwarranted invasion
                                                                  of privacy. The information does not shed light on CBP’s actions, and
                                                                  no public interest is served by its disclosure.
0117 – BW FOIA        Summary of                (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as this document was
                      Environmental                               prepared for law enforcement purposes in connection with the
                      Stewardship Initiatives                     placement of tactical infrastructure in a specific section of a CBP area
                      for Fence Construction                      of responsibility. The document identifies the specific location, linear
                      in Marfa Sector                             mileage and acreage of the location, and length of the tactical
                                                                  infrastructure. Disclosure of this information could reasonably be
                                                                  expected to assist individuals in or near the area in avoiding detection
                                                                  and circumventing the law.
0118 – BW FOIA        Summary of                (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as this document was
                      Environmental                               prepared for law enforcement purposes in connection with the
                      Stewardship Initiatives                     placement of tactical infrastructure in a specific section of a CBP area
                      for Fence Construction                      of responsibility. The document identifies the specific location, linear
                      in Rio Grande Valley                        mileage and acreage of the location, and length of the tactical
                      Sector                                      infrastructure. Disclosure of this information could reasonably be
                                                                  expected to assist individuals in or near the area in avoiding detection
                                                                  and circumventing the law.
0121 – BW FOIA        Summary of                (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as this document was
                      Environmental                               prepared for law enforcement purposes in connection with the
                      Stewardship Initiatives                     placement of tactical infrastructure in a specific section of a CBP area
                      for Fence Construction                      of responsibility. The document identifies the specific location, linear
                      in Yuma Sector                              mileage and acreage of the location, and length of the tactical
                                                                  infrastructure. Disclosure of this information could reasonably be
                                                                  expected to assist individuals in or near the area in avoiding detection
                                                                  and circumventing the law.
0122 – BW FOIA        Briefing Slides:          (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                      Overview of CBP Fence     (b)(7)(E)         decisional document was prepared by CBP’s OFAM to provide USBP
                                                                                                                                             Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 56 of 73




                      (November 17, 2016)                         leadership and overview of CBP’s current tactical infrastructure assets
                                                                  and proposals for the placement of new fence along both the northern

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 DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                              BASIS FOR EXEMPTION
    NUMBER                  DESCRIPTION            CLAIMED
                                                                   and southern borders, inclusive of maps. Exemption (b)(5) was also
                                                                   applied to information previously provided by OCC concerning
                                                                   relevant legal considerations attendant to border fence construction,
                                                                   which is protected by the attorney-client privilege. Public disclosure of
                                                                   the redacted information could affect the agency’s decision-making
                                                                   process, reveal law enforcement sensitive information that may assist
                                                                   individuals in the affected areas of responsibility in avoiding detection
                                                                   and circumventing the law, and undermine the attorney-client
                                                                   relationship.
0123 – BW FOIA Part     Fence Lab Preliminary    (b)(6)            The names of CBP employees are redacted pursuant to (b)(6) and
1 (Parts 1 through 3)   Results                  (b)(7)(C)         (b)(7)(C), as the release of this information would constitute an
                                                 (b)(7)(E)         unwarranted invasion of privacy. The information does not shed light
                                                                   on CBP’s actions, and no public interest is served by its disclosure.

                                                                   This document was compiled by the CBP SBInet Program Management
                                                                   Office for law enforcement purposes to provide USBP the preliminary
                                                                   results of CBP’s Fence Lab Project, under which the agency tested and
                                                                   evaluated border fence solutions to meet the agency’s requirements.
                                                                   Information is redacted pursuant to (b)(7)(E), as the document
                                                                   describes the performance parameters CBP developed for testing the
                                                                   fencing and the conditions under which they were tested. The
                                                                   document also includes design drawings and specifications for the
                                                                   various fence types submitted by the participating manufacturers.
                                                                   Individuals routinely damage fence in an effort to enter the country
                                                                   between official ports of entry. Disclosure of the design specifications
                                                                   and the conditions under which fencing was tested could assist
                                                                   individuals in effecting countermeasures in order to avoid detection or
                                                                   circumvent the law.
0124 – BW FOIA          Briefing Slides:         (b)(5)            Information is redacted pursuant to (b)(5) and (b)(7)(E), as this pre-
                        Overview of CBP Fence    (b)(7)(E)         decisional document was prepared by CBP’s OFAM to provide USBP
                                                                                                                                               Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 57 of 73




                        (November 18, 2016)                        leadership and overview of CBP’s current tactical infrastructure assets
                                                                   and proposals for the placement of new fence along both the northern

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DOCUMENT BATES             DOCUMENT              EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION             CLAIMED
                                                                  and southern borders, inclusive of maps. Exemption (b)(5) was also
                                                                  applied to information previously provided by OCC concerning
                                                                  relevant legal considerations related to fence construction, which is
                                                                  protected by the attorney-client privilege. Public disclosure of the
                                                                  redacted information could affect the agency’s decision-making
                                                                  process, reveal law enforcement sensitive information that may assist
                                                                  individuals in the affected areas of responsibility in avoiding detection
                                                                  and circumventing the law, and undermine the attorney-client
                                                                  relationship.
0126 – BW FOIA        CBP Response to            (b)(7)(E)        Information is redacted pursuant to (b)(7)(E), as it identifies agency
                      Presidential Transition                     needs for border security enforcement. Disclosure of the agency’s
                      Team Request for                            operational requirements could assist individuals in effecting
                      Information (“RFI”)                         countermeasures in order to circumvent the law.
0127 – BW FOIA        CBP Response to            (b)(6)           The name of a CBP employee is redacted pursuant to (b)(6) and
                      Presidential Transition    (b)(7)(C)        (b)(7)(C), as its release would constitute an unwarranted invasion of
                      Team Tasking               (b)(7)(E)        privacy. The information does not shed light on CBP’s actions, and no
                      Regarding USBP’s                            public interest is served by its disclosure.
                      Operational Needs
                      Related to Fence,                           Information is redacted pursuant to (b)(7)(E), as the information
                      Tactical Infrastructure,                    relates to a Presidential Transition Team request for information
                      or Technology                               seeking documents related to USBP’s concept of operations and
                                                                  operations needs related to fence, tactical infrastructure, or
                                                                  technology and the factors which contribute to USBP’s determination
                                                                  as to the placement of border fence. The redacted material includes
                                                                  information regarding its historical and current approaches to
                                                                  requirements development and the policy documents it utilizes in this
                                                                  process. Disclosure of such information would reveal law enforcement
                                                                  techniques and procedures in approaching border enforcement.
0128 – BW FOIA        CBP Response to            (b)(7)(E)        Information is redacted pursuant to (b)(7)(E), as it describes the
                      Presidential Transition                     factors which contribute to CBP’s determinations as to the type of
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 58 of 73




                      Team Tasking                                fence to use and the location to place it. Disclosure of this information
                      Regarding Why and                           would reveal the considerations that go into USBP’s decision to deploy

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DOCUMENT BATES              DOCUMENT            EXEMPTION(S)                               BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                      How the Type and                            tactical infrastructure, which could assist individuals in effecting
                      Placement of Fence Is                       countermeasures in order to circumvent to the law.
                      Determined
0129 – BW FOIA        CBP Response to           (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as it describes the time
                      Presidential Transition                     frame within which CBP endeavors to repair damaged fence and the
                      Team Tasking                                time frame within which CBP generally accomplishes repairs. The
                      Regarding                                   document also describes the typical man-made causes of damage to
                      Maintenance and                             fencing. Disclosure of such information could assist individuals in
                      Repair Needs for the                        avoiding detection or suggest countermeasures they could employ in
                      Southwest Border                            order to breach fence infrastructure, thereby enabling them to
                                                                  circumvent the law.
0130 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0131 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0132 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0133 – BW FOIA        CBP Response to           (b)(7)(E)         Information is redacted pursuant to (b)(7)(E), as it describes the design
                                                                                                                                              Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 59 of 73




                      Presidential Transition                     specifications and parameters used in connection with the CBP Fence
                      Team Tasking                                Lab Project, under which CBP tested, evaluated, and selected border

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DOCUMENT BATES              DOCUMENT            EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                      Regarding Fence Lab                         fence solutions to meet the agency’s requirements. The document
                      Requirements and                            also specifies the name and location and the testing facility.
                      Specifications                              Individuals frequently damage fence in an effort to enter the country
                      Development                                 between official ports of entry. Disclosure of the performance
                                                                  parameters CBP used in testing fencing could assist individuals in
                                                                  effecting countermeasures in order to circumvent the law.
0134 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

0135 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(E)         have been redacted pursuant to (b)(6), as the release of such
                      Tasking                                     information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.

                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to a
                                                                  Presidential Transition Team request for information naming CBP
                                                                  immigration enforcement missions and identifies, in one instance, the
                                                                  operational changes associated with the specified mission. Disclosure
                                                                  of such information could reasonably be law enforcement procedures
                                                                  or techniques that could assist individuals in circumventing the law.
0136 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(E)         have been redacted pursuant to (b)(6), as the release of such
                      Tasking                                     information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
                                                                                                                                           Case 1:17-cv-01037-EGS Document 21-2 Filed 09/13/18 Page 60 of 73




                                                                  Information is redacted pursuant to (b)(7)(E) as it relates to a
                                                                  Presidential Transition Team request for information naming CBP

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DOCUMENT BATES             DOCUMENT             EXEMPTION(S)                             BASIS FOR EXEMPTION
   NUMBER                  DESCRIPTION            CLAIMED
                                                                  immigration enforcement missions and identifies, in one instance, the
                                                                  operational changes associated with the specified mission. Disclosure
                                                                  of such information could reasonably be law enforcement procedures
                                                                  or techniques that could assist individuals in circumventing the law.
0137 – BW FOIA        Email re: Presidential    (b)(6)            The names, email addresses, and phone numbers of CBP employees
                      Transition Team           (b)(7)(C)         have been redacted pursuant to (b)(6) and (b)(7)(C), as the release of
                      Tasking                                     such information would constitute an unwarranted invasion of privacy.
                                                                  Release of this information would not shed light on CBP’s actions and
                                                                  there is no public interest served its disclosure.
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             EXHIBIT B
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From :             Margaret Townsend
To:                EQffi;   foia®bjotoaicaldiversjtv ora
Cc:                Brian Segee
Subject:           Center for Biological Diversity FOIA Request re: U.S. Border Walls
Date:              Wednesday, January 25, 2017 12:50:36 PM



VIA ELECTRONIC MAIL

Jonatha n Cantor
Acting Chief Privacy Officer/Chief FOIA Officer
The Privacy Office
U.S. Department of Homeland Security
245 Murray Lane SW
STOP-0655
Washington, D.C. 20528-0655
foia@dhs.gov


Re:        Freedom of Information Act Request:             us    Border Walls

Dear FOIA Officer:


This is a request under the Freedom of Information Act, 5 U.S.C. § 552, as amended ("FOIA"), from
the Center for Biologica l Diversity ("Center"), a non-profit organization that works to secu re a future
for all species hovering on the brink of extinction through science, law, and creative media, and to
fulfill the continuing educational goals of its membership and the general public in the process.


                                                    REQUESTED RECORDS

The Center requests all records from the U.S. Department of Homeland Security ("OHS") that
reference wa lls, barriers, and/or other physical constructions along t he U.S.-Mexico border and/o r
U.S.-Canada border, for purposes of the Presidentia l tran sition process, created fo r and/or provided
to brief members of the Presidential Transition Team and/or their representatives.


For this request, the term "all records" refers to, but is not limited to, any and all documents,
correspondence (including, but not limited to, inter and/or intra-agency correspondence as well as
correspondence with entities or individuals outside the federal government), emails, letters, notes,
telephone records, telephone notes, minutes, memoranda, comments, files, prese ntations,
consultations, biological opinions, assessments, evaluations, schedules, telephone logs, papers
published and/or unpublished, reports, studies, photographs and other images, data (including raw
data, GPS or GIS data, UTM, Li DAR, etc.), maps, and/or al l other responsive record s, in draft or fi nal
form.


This request is not meant to exclude any other records that, although not specially requested, are
reasonably related to the subject matter of this request. If you or your office have destroyed or
determine to withhold any record s that could be reasonably construed to be responsive to this
request, I ask that you indicate this fact and the reasons therefore in your response.
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Under the FOIA Improvement Act of 2016, agencies are prohibited from denying requests for
information under FOIA unless the agency reasonably believes release of the information will harm
an interest that is protected by the exemption . FOIA Improvement Act of 2016 (Public Law No. 114-
185), codified at S U.S. C. § 552(a)(8)(A).


Should you decide to invoke a FOIA exemption, please include sufficient information for us to assess
the basis fo r t he exem ption, includ ing any interest (s) that woul d be harmed by release. Please
include a detailed ledger w hich includes:


        1.        Basic factual material about each withheld record, including the originator, date,
                 length, general subject matter, and location of each item; and


        2.        Complete explanations and justifications fo r the withholding, including the specific
                 exemption(s) under which the record (or portion thereof) was withheld and a full
                 explanation of how each exemption applies to the withheld material. Such
                 st at ements w ill be helpful in deciding whet her to appeal an adverse determination.
                 Your written justification may hel p to avoid litigation.


In addition, if you determine that portions of the records requested are exempt from disclosure, we
request that you segregate the exem pt portions and mai l the non-exempt portions of such records
to my attention at the address below wit hin the statutory time limit. S U.S.C. § 552(b).


The Cent er is willing to receive records on a rolling basis.


                                    FORM AT OF REQ UESTED RECORDS

Under FOIA, you are obligated to provide records in a readily-accessible electronic format and in t he
format requested. See, e.g., S U.S.C. § 552(a)(3)(B) ("In making any record available t o a person
under this paragraph, an agency shalt provide the record in any form or format requested by the
person if the record is readily reproducible by the agency in that form or format."). "Readily-
accessible" means text-searchable and OCR-formatted. See S U.S.C. § 552(a)(3)(B) . Please provide
all records in a readily-accessible, electronic .pdf format. Additionally, please provide the records
either in (1) load-ready format with a CSV file index or excel spreadsheet, or if that is not possible;
(2) in .pdf format, without any "profiles" or "embedded files." Profiles and embedded fi les within
files are not readily-accessible. Please do   not orovide the records in a sioate. or "batched" .odf file.
We appreciate the inclusion of an index.


If you shou ld seek to w ithhold or redact any respo nsi ve records, we request that you: (1) identify
each such record with specificity (including date, author, recipient, and parties copied); (2) expla in in
full the basis for withholding responsive material; and (3) provide all segregable portions of the
records for which you claim a specific exemption . S U.S.C. § 552(b). Please correlate any redactions
w ith specific exemptions under FOIA.


                                        REQUEST FOR FEE WAIVER
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FOIA was designed to provide citizens a broad right to access govern ment records . FOIA's basic
pu rpose is to "open agency action to the light of publ ic scrutiny," wi t h a focus on the public's "right
to be informed about what their government is up to." U.S. Oep't of Justice v. Reporters Comm. for
Freedom of Press, 489 U.S. 749, 773-74 (1989) (internal quotation and cita ti ons omitted). In order to
provide public access to t his information, FOIA's fee waiver provision requires that "[d)ocuments
shall be furnished without any charge or at a [reduced) charge," if the request sa t isfies the standard.
5 U.S.C. § 552(a)(4)(A)(iii) . FOIA's fee waiver requirement is " liberally construed." Judicial Watch,
Inc. v. Rossotti, 326 F.3d 1309, 1310 (D.C. Cir. 2003); Forest Guardians v. U.S. Dept. of Int erior, 416
F.3d 1173, 1178 (10th Cir. 2005).


The 1986 fee waiver amendments were designed specifically to provide non-profit organizations
such as the Center access to government records without the payment of fees. Indeed, FOIA's fee
waiver provision was intended "to prevent government agencies from using high fees to discou rage
certain types of requesters and requests," w hich are "consistently associated with requests from
journali sts, scholars, and non-profit public interest groups." Ettlinger v. FBI, 596 F.Supp. 867, 872 (D.
Mass. 1984) (emphasis added). As one Senator stated, "[a]gencies should not be allowed to use fees
as an offensive weapon against requesters seeking access to Government information .. .. " 132
Cong. Rec. S. 14298 (statement of Senator Leahy).


I.       The Center Qualifies for a Fee Waiver.

Under FOIA, a party is entitled to a fee waiver when "disclosure of the information is in the public
interest because it is likely to contribute significantly to public understanding of the operations or
activities of the [Federal) government and is not primarily in the commercial interest of the
requester." 5 U.S.C. § 552(a)(4)(A)(iii ). DHS's regulations at 6 C.F.R. § 5.ll(k)(i)- (ii) establish the
same standard.


Thus, DHS must consider four facto rs to determine whether a request is in the pu blic interest: (1)
whether the subject of the requested records concerns "iden tifiable operat ions or activities of the
federa l government," (2) whether the disclosure is "likely to contribu te" to an understanding of
governm en t operations or activities, (3) whether the disclosure wil l "contribute to the understanding
of a reasonably broad audience of persons interested in the subject," and (4) whether the disclosure
is likely to enhance t he publ ic's understanding of t he government operations and activities "to a
significant extent." 6 C.F.R. § 5.ll(k)(2)(i) - (iv). As shown below, t he Center meets each of these
factors.


        A.   The Subiect of This Reau est Concerns "The Operations and Activities of the
             Government."


The subject matter of this req uest concerns t he operations and activities of DHS. This request asks
for al l records from the DHS that reference wal ls, barriers, and/or other physica l constructions along
the U.5.-Mexico border and/or U.S.-Canada border, for purposes of the Presidential transition
process, created for and/or provided to brief members of the Presidentia l Transition Team and/or
their representatives.
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This FOIA will provide the Center and the public with crucial insight into the information provided by
federal agencies to the Trump transition team, including specific insight into how the primary
agencies with jurisdiction over border wa ll construction are responding to Trump's promise to build
a continuous border wall. For example, a January 13, 2017 CNN story states tha t OHS started
discussions about border wa ll construction immediately after the election, includ ing identification of
specific constru ction and other priority areas. CNN, "Trump Team Discussing Border Wall With Army
Corps, Interior Department" (Jan. 13, 2017) . Alth ough there are laws that w ould apply to such
con struction, existing legislation (REAL ID Act and Secure Fence Act) delegates the OHS Secretary
with authority to waive such laws in order to speed construction . It is cl ear t hat advisi ng t he
President-elect about environmental laws and other constraints relat ive to any potential border wall
or walls are specific and identifiable activities of th e government, in this case the OHS. Judicial
Watch, 326 F.3d at 1313 ("[R]easonable specificity is all that FOIA requires with regard to t his
factor") (internal quotations omitted). Thus, t he Center meets t his factor.


         B.   Disclosure is ''Likely to Contribute" to an Understanding of Government Operations or
              Activities.

The requested reco rds are meaningfully informative about government ope rations or activities and
will contribute to an increased understanding of those operations and activities by the public.


Disclosure of the requested records will allow the Center to convey t o the public information about
how federal agencies approach bord er secu rity and the border wa ll in particu lar. Once the
information is made available, the Center will ana lyze it and present it to its 1.1 million members and
on line activists and the general public in a manner that w ill meani ngfu lly enhance the public's
understanding of the informat ion provided by the OHS to th e Trump transition team, including
specific insight into how the primary agenci es with jurisdiction over border wa ll construction are
responding to Trump's promise to bu ild a continuous border wall.


Thus, the requested reco rds are likely to contribute to an understand ing of OHS ope rations and
activities.


         C.   Disclosure of the Requ ested Records Wi ll Contribute to a Reasonably-Broad Audience of
              Interested Persons' Understanding of How the DHS Ana lyzes New Border Projects and
              Briefs the Presidential Transition Team


The requested records wi ll contribute to public understanding of how OHS briefs the Trump
transition team about new projects, specifically any potential U.S. border walls, and w het her the
agency's actions are consistent with the laws that would apply to such construction, or would
require w aivers or exempti ons under existing legislation {i.e., REAL ID Act and Secure Fence Act) .
The information provided by the OHS to the Trump transition team, including specific insight into
how the primary agencies with j urisdiction over border wall construction are responding to Trump's
promise to build a continuous border wa ll, are areas of interest to a reasonably-broad segment of
the public. The Center will use th e information it obtains from the disclosed records to educate th e
public at large about how federal agencies are planning to approach border w all construction an d
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the border wa ll in particular. See W. Watersheds Proj. v. Brown, 318 F.Supp .2d 1036, 1040 (D. Idaho
2004) (" ... find[ing] that WWP adequately specified the public interest to be served, that is,
educating the public about the ecological conditions of the land managed by the BLM and also how
... management strategies employed by the BLM may adversely affect the environment." ).

Through the Center's synthesis and dissemination (by means discussed in Section II, below),
disclosure of information contained and gleaned from the requested records will contribute to a
broad aud ie nce of persons who are interested in the subject matter. Ettlinger v. FBI, 596 F.Supp . at
876 (benefit to a population group of some size distinct from the requester alone is sufficient);
Corney v. Dep't of Justice, 19 F.3d 807, 815 (2d Cir. 1994), cert. denied, 513 U.S. 823 (1994) (applying
"public" to require a sufficient "breadth of benefit" beyond the requester's own interests); Cmty.
Legal Servs. v. Dep't of Haus. & Urban Dev., 405 F.Supp.2d 553, 557 (E .D. Pa. 2005 ) {in granting fee
waiver to commun ity legal group, court noted that while the requester's "work by its nature is
unlikely to reach a very general audience," "there is a segment of the public that is interested in its
work").


Indeed, the public does not currently have an ability to easily evaluate the requested records, whi ch
concern how federal agencies are planning to approach border wa ll construction and the bo rder wall
in particular that are not currently in t he public domain . See Cmty. Legal Servs. v. HUD, 405
F.Supp.2d 553, 560 (D. Pa. 2005) (because requ ested documents "cla rify important facts" about
agency policy, "the CLS request would likely shed light on information th at is new to the interested
public.") . As the Ninth Circuit observed in McClellan Ecological Seepage Situation v. Carlucci, 835
F.2d 1282, 1286 {9th Cir. 1987), "[FOIA) legislative history suggests that information [has more
potential to contribute to public understanding) to the degree t hat the information is new and
                                                        ill
supports public oversight of agency operation s.... "


Disclosure of these records is not only "likely to contribute," but is certain to contribute, to public
understand ing of the information provided by the OHS to the Trump transition team, including
specific insight into how t he primary agencies with ju ri sdiction over border wal l construction are
respond ing to Trump's promise to build a continuous border wal l. The public is always well served
when it knows how the government conducts its activities, particula rly matters touching on legal
questions. Hence, there can be no dispute that disclosure of the requested records to the public will
educate the public about how federa l agencies evaluate the potential border security construction
and the border wall in pa rt icular.


        D.   Disclosure is Likely to Contribute Sign ificantly to Public Understanding of Govern men t
             Operations or Activities.

The Center is not requesting these records merely for their intrinsic informational value. Disclosure
of the requested records will significantly enhance the public's understandi ng of the information
provided by the DHS to the Trump transition team, including specific insight into how the primary
agencies with jurisdiction over border wall construction are respondi ng to Trump's promise to build
a continuous border wall, as compared to the level of public understanding that exists prior to the
disclosu re. Indeed, public understanding will be significantly increased as a resu lt of disclosure
because the requested records will help reveal more about how federal agencies evaluate the
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potential border wall construction and the border wall in particular. Such public oversight of agency
action is vital to our democratic system and clearly envisioned by the drafters of the FOIA. Thus, the
Center meets this factor as well.


11.      The Center has a Demonstrated Ability to Disseminate the Requested Information Broadly

The Center is a non-profit organization that informs, educates, and counsels the public regarding
environmental issues, policies, and laws relating to environmental issues. The Center has been
substantially involved in the activities of numerous government agencies for over 25 years, and has
consistently displayed its ability to disseminate information granted to it through FOIA.


In consistently granting the Center's fee-waivers, agencies have recognized : (1) that the information
requested by the Center contributes significantly to t he public's understanding of the government's
operations or activities; (2) that the information enhances the public's unde rstanding to a greater
degree than currently exists; (3) that the Center possesses the expertise to explain the requested
information to the public; (4) that the Center possesses the ability to disseminate the requested
information to the general publ ic; (5) and that the news media recognizes the Center as an
established expert in the field of imperiled species, biodiversity, and impacts on protected species.
The Center's track record of active participation in oversight of governmenta l activities and
decision maki ng, and its consistent contribution to the public's understanding of those activities as
compared to the level of public understanding prior to disclosure are well established .


The Center intends to use the records requested here similarly. The Center's work appears in more
t han 2,000 news stories onl ine and in print, radio and TV per month, incl uding regu lar reporting in
such important outlets as The New York Times, Washington Post, and Los Angeles Times . Many
media outlets have reported on potential U.S. border walls, utilizing information obtained by the
Center from federal agencies including OHS. In 2016, more than 2 million people visited the Center's
extensive w ebsite, viewing a tota l of more than 5.2 million pages. The Center sends out more than
350 email newsletters and action alerts per year to more than 1.1 million members and supporters.
Th ree times a year, the Center sends printed newsletters to more than 50,000 members. More than
166,900 people have "liked" the Center on Facebook, and there are regular postings regarding pla ns
of the Trump transition and how a possible U.S.-Mexico border wall could restrict endangered
species movements and habitat. The Center also regularly tweets to more than 47,000 followers on
Twitter. The Center intends to use these far-reach ing media outlets to share with the public
information obtained as a resu lt of this request.


Public oversight and enhanced understanding of DHS's duties is absolutely necessary. In
determining whether disclosure of requested information will contribute significantly to publ ic
understanding, a guiding te st is whether the requester will dissemi nate the information to a
reasonably-broad audience of persons interested in the subject. Carney v U.S. Dept. of Justice, 19
F.3d 807 (2nd Cir. 1994). The Center need not show how it intends to distribute the information,
because "[n]othing in FOIA, the [agency] regulation, or our case law require[s] such pointless
specificity." Judicial Watch, 326 F.3d at 1314. It is sufficient for the Center to show how it
distributes information to the public generally . Id.
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111.      Obtaining the Requested Records is of No Commercial Interest to the Center.


Access to governm ent records, disclosure forms, and similar materials through FO IA requests is
essential to the Center's role of educating the gen eral public. Founded in 1994, the Center is a
501{c)(3) nonprofit conservation organization {EIN : XX-XXXXXXX) w ith more than 1.1 million
members and online activists dedicated to the protection of endangered and threatened species and
wild places . The Center has no commercial int erest and w il l realize no commercial benefit from the
release of the requested records.


IV .      Conclusion


For all of th e foregoing reasons, the Center qualifies for a ful l fee-waiver. We hope that DHS wil l
immediately grant this fee waiver request and begin t o search and disclose the requested records
w ithout any unnecessary delays.


If you have any questions, please contact me at (971) 717-6409 or foia@biologicaldiversity.o rg. All
records and any related correspondence should be sent to my attention at t he address below.



                                                  Sincerely,




                                                  Margaret E. Townsend
                                                  Open Government Staff Attorney
                                                  CENTER FOR BIOLOGICAL DIVERSITY
                                                  P.O . Box 11374
                                                  Portland, OR 97211-0374
                                                  foia@biologicaldiversity.org



From:FOIA [mailto:FOIA@HQ.DHS.GOV)
Sent: Wednesday, January 25, 2017 7:53 AM
To: 'foia@biologicaldiversity.org'
Cc: Brian Segee
Subject: RE: Center for Biological Diversity FOIA Request re: U.S. Border Wa lls

Good morning,


Thank you fo r contacting th e Department of Homeland Secu rity's Privacy Office . Please be advised
that we do not open attachments for security purposes. Please resubmit your request with
attachment in the body of email, via fax or USPS.

This office is responsible for administering policies, progra ms, an d procedures to ensure that the
Department complies with the Freedom of Information Act (FOIA) and the Privacy Act (PA), 5 U.S.C.
552 and 5 U.S.C. 552a, respectively. For more information about the DHS Privacy Office, please click
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here: https://www.dhs.gov/tooic/orivacy.


This email account exists to facilitate FOIA requests that are properly made in accordance with the
DHS FOIA regulations. While PA requests may be sent via e-mail, no work will be done nor access
provided to records until we receive either a notarized request or a signed statement made under
28 U.S.C. 1746. If you have questions regarding what constitutes a properly made request, please
refer to the regulations fou nd at: http://www.dhs.gov/xlibrary/assets/FOIA FedReg Notice.odf.


If your request is a properly made request, and you do not receive an acknowledgement letter
within 15 business days, please send a follow-up email or call our office at 1-866-431-0486. Please
have the date and time you sent your email so that we may quickly reference it.


If your request is not a properly made request, th is is the only response you will receive from us.
You may w ish to consult one of the references below:



Genera l FOIA In formation


How to fi le a FOIA request -- http ://www.dhs.gov/xfo ia/editoria l 0316.shtm


Frequently requested records -- http://www.dhs.gov/xfoia/editorial 0424.shtm


FOIA Contacts -- http://www.dhs.gov/xfoia/Copy of editorial 0318 shtm



Citizenshi p and Benefits Informat ion


If you are seeking information or records pertaining to citizenship or immigration benefits, you
should contact one of the following offices or programs within U.S. Citizenship and Im migration
Services (USCIS):


--Immigration Case Status:


To check your immigration case status, visit www .uscis.gov and enter your immigration case
number. You may also contact th e USCIS National Customer Service Center at 1-800-375-5283.

--Replacement Documents:


If you are simply trying to obt ai n a replacement copy of your naturalization certificate, the most
efficien t way to do so is to contact your local USCIS service center. To obtain the necessary forms
and a list of service centers, visit www.uscis.gov.



Identity Theft
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If you are a victim of a telephone scam and paid money or gave your credit card account numbers,
or any other financial information, to someone cla iming to collect required taxes or duty on lottery
winnings, you should contact Project Phone Busters at 1-888-495-8501 or www.phonebusters.com.


If you are a victi m of identity t heft, you can call the Federal Trade Commission's Identity Theft
Hotli ne at 1-877-438-4338 or report it http://www.ftc.gov/bcp/edu/m icrosites/idtheft/ online. If
you believe someone is using your social security number, you can report it to the Social Security
Admin istration Fraud Hotline at 1-800-269-0271.



OHS Equal Employment Opportunity (EEO) Program


If you have a question or need assistance with an EEO case, please call the EEO Customer service line
at (202) 254-8250, or ema il at statusFA@hq .dhs.gov.


Complaints


To file a complaint against employees and/or officials of the Department of Homeland Security with
the Office for Civil Rights and Civil Libert ies, follow th is link: https://www.d hs.gov/compl iance-branch
CRCL Compliance Branch.


To fil e a complaint with the Department of Homeland Securi ty Office of Inspector General, follow
this Ii nk: https ://www.dhs.gov/office-i nspector-general-foia-request s.



Reporting Suspicious Activity


To Report Incidents: https://www.dhs.gov/how-do-i/report-suspicious-activi ty


OHS Main Operator: (202) 282-8000


OHS Tip Li nes:


1-866-DHS-21CE -- Illegal immigration or relat ed activities that are under the purview of U.S.
Immigration & Customs Enforcement (ICE)


1-877-9TUNNEL -- Information concerning underground passageways along the U.S./Mexican border


1-800-BE-ALERT -- Suspicious activity rega rding cust oms or border issues th at are under the purview
of U.S. Customs and Border Protection (CBP)


1-800-THE-LOST -- Tips regarding exploited ch ildren or online predators, wh ich fall under t he
purview of the National Center for Missing and Exploited Children (also alert local law enforcement)


1-866-720-5721 -- Cases of fraud involving t he Federa l Emergency Management Agency (FEMA)
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DHS TRIP Program

The Depart ment of Homeland Security's Travel Redress Inquiry Program (DHS TRIP) is a single point
of contact for individ ua ls w ho have inquiries or seek resolution regarding difficulties they
experienced during th eir t ravel screening at transportation hubs--like airports and tra in st at ions--or
crossing U.S. borders, including: 1) denied or delayed airline boarding; 2) denied or delayed entry
into and exit from th e U.S. at a port of entry or border checkpoint; or 3) continuously referred to
additional (seconda ry) screening. Individ uals seeking to fi le an inqui ry to have erroneous
inform ation corrected in DHS systems should contact DHS TRIP at trio@dhs.gov or visi t
www.dhs.gov/trio.

If you are requesting records pertai ning to difficul ties experienced during t ravel, w e recommend
consu lt ing t he DHS TRIP program first, as an alterna t ive to fil ing a FOIA requ est, and if you are still
interested in pursuing the request via the FOIA, su bmit the request directly to the component that
wou ld most likely have the records (CBP or TSA depending on the travel situation).


For further information, please visit www.dhs.gov/trio.


Regards,


The Privacy Office
U.S. Department of Homeland Security
245 Mu rray La ne SW
STOP-0655
Washington, D.C. 20528-0655
Phone: 202-343-1743 or 866-431-0486
Fax: 202-343-4011
E-mail: foia@ha .dhs.gov
Visit our FOIA website




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please reply immediately to the sender and delete this message. Thank you.




From : Margaret Townsend [mailto:m townsend@biologica ldiversity.org] On Behalf Of
fo ia@biologica ldiversity.org
Sent: Tuesday, Ja nuary 24, 2017 1:21 PM
To: FOIA <FOIA@HO.DHS.GOV>
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Cc: foia@biologicaldiversity.org; Brian Segee <BSegee@biologicald iversity. org>
Subject: Center for Biological Diversity FOIA Request re: U.S. Border Walls


Dear FOIA Officer,


Please fin d the attached FOIA request from the Center for Biologica l Diversit y (" Center"). We w ould
appreciate t he DHS's acknowledgement of receipt of t his FOIA requ est.


If you have any quest ions, please feel free to contact m e. We look forward to your respons e.


Thank you,
Marga ret



Margaret E. Townsend
Open Government Staff Attorney       I Endangered Species Program
Center for Biologica l Diversity
P.O. Box 11374
Portland, OR 97211-0374
Office : (971) 717-6409
Fax: (503) 283-5528
mtownsend@biologicaldiversity.org


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ill It is immateria l whether any portion of the Center's request may currently be in the publi c
domain because the Center requests considerably more than any piece of information that may
currently be avail able to other individuals. See Judicial Watch, 326 F.3d at I 3 15.
